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             Name                             NoticeName                   Address1              Address2   City           State   Zip
             Broadridge                       Reorganization Department    51 Mercedes Way                  Edgewood       NY      11717
             Mediant Communications           Stephanie Fitzhenry          109 North 5th St                 Saddle Brook   NJ      07663
             The Bank of New York Mellon      Beth Stiffler                525 William Penn Pl   Rm 300     Pittsburgh     PA      15259
             The Depository Trust Co          Horace Daley                 55 Water St           25th Fl    New York       NY      10004




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                  Name                                NoticeName                        Address1                      Address2                 Address3         City       State       Zip
Banc of Americas Securities LLC            John Dolan                         222 Broadway                  27th Fl                       MC NY3 222 27 01 New York       NY       10038
Barclays Bank Inc LE                       Giovanna Laurella                  70 Hudson St                  7th Fl                                         Jersey City    NJ       07302-0000
Barclays Capital Inc / Barclays Capital    Nellie Foo                         200 Cedar Knolls Rd                                                          Whippany       NJ       07981-0000
BNY Mellon                                 Maria Sasinoski                    525 William Penn Pl           Rm 300                                         Pittsburgh     PA       15259
Brown Brothers Harriman & Co               Dorota Malkiewicz                  525 Washington Blvd           New Port Towers                                Jersey City    NJ       07302-0000
Citibank NA                                Sandra Hernandez                   3800 Citibank Center B3 12                                                   Tampa          FL       33610
Citigroup Global Markets Inc               Patricia Haller                    111 Wall St                   6th Fl                                         New York       NY       10005
Citigroup Global Markets Inc Salomon       Patricia Haller                    111 Wall St                   6th Fl                                         New York       NY       10005
Credit Suisse Securities USA LLC           Adam Miranda                       1 Madison Ave                 2nd Fl                                         New York       NY       10010
Goldman Sachs & Co                         Reorg Dept                         30 Hudson St                                                                 Jersey City    NJ       07302-4699
J P Morgan Clearing Corp                   Christine Fahey                    3 Chase Metrotech Center                                                     Brooklyn       NY       11245-0001
JPMorgan Chase Bank NA                     Reorg Dept                         14201 Dallas Parkway                                                         Dallas         TX       75254
Merrill Lynch Pierce Fenner & Smith        Corp Actions Notifications (Jax)   Corporate Action Department   4804 Deer Lake Drive East     4th Fl Bldg 3    Jacksonville   FL       32246
Northern Trust Co                          Stella Castaneda                   801 S Canal St                Attn Capital Structures C1N                    Chicago        IL       60607
State Street Bank and Trust Co             Sandra Polizio                     Corp Actions JAB5E            1776 Heritage Dr                               North Quincy   MA       02171-0000
US Bank NA                                 Michelle Bruss                     MK WI S302                    1555 N Rivercenter Dr                          Milwaukee      WI       53212




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Company                                   Contact                            Email                                     Dept Email
Banc of Americas Securities LLC           John Dolan                         john.dolan@ml.com                         dg.corporate_action@bofasecurities.com
Barclays Bank Inc LE                      Giovanna Laurella                  glaurella@barclayscapital.com
Barclays Capital Inc / Barclays Capital   Nellie Foo                         nycorpactions@barclayscapital.com         nycorpactions@barclayscapital.com
BNY Mellon                                Maria Sasinoski                    maria.sasinoski@bnymellon.com             SMDBNYM@BNYMELLON.COM
Brown Brothers Harriman & Co              Dorota Malkiewicz                  dorota.malkiewicz@bbh.com
Citibank NA                               Sandra Hernandez                   sandra.hernandez@citi.com                 corpactmaterial@citi.com
Citigroup Global Markets Inc              Patricia Haller                    Patricia.M.Haller@citi.com
Citigroup Global Markets Inc Salomon      Patricia Haller                    Patricia.M.Haller@citi.com
Credit Suisse Securities USA LLC          Adam Miranda                       adam.miranda@credit-suisse.com
Goldman Sachs & Co                        Reorg Dept                         gs-as-ny-reorg@ny.email.gs.com            gs-as-ny-reorg@ny.email.gs.com
J P Morgan Clearing Corp                  Christine Fahey                    Christine.Fahey@jpmorgan.com
JPMorgan Chase Bank NA                     Reorg Dept                        JPM_Dallas_Voluntary_Reorg@jpmchase.com   nicholas.hildebrand@jpmorgan.com
Mediant Communications                    Stephanie Fitzhenry                sfitzhenry@mediantonline.com              documents@mediantonline.com
Merrill Lynch Pierce Fenner & Smith       Corp Actions Notifications (Jax)   corporateactionsnotifications@baml.com    corporateactionsnotifications@baml.com
Northern Trust Co                         Stella Castaneda                   mec15@ntrs.com                            cs_notifications@ntrs.com
State Street Bank and Trust Co            Sandra Polizio                     scpolizio@statestreet.com
The Bank of New York Mellon               Beth Stiffler                      Beth.Stiffler@BNYMellon.com               SMDBNYM@BNYMELLON.COM
The Depository Trust Co                   Horace Daley                       hdaley@dtcc.com                           reorgannouncements@dtcc.com
US Bank NA                                Michelle Bruss                     michelle.bruss@usbank.com




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                                                   June 22, 2012

To the Registered and Beneficial Holders of:

 Houghton Mifflin Harcourt Publishing Company and Houghton Mifflin Harcourt Publishers Inc.
          10.5% Senior Secured Notes due June 1, 2019 (the “Senior Secured Notes”)

                                              CUSIP 44157QAA9*

Each registered holder of the Senior Secured Notes should forward a copy of this Notice
immediately to any beneficial owner(s) of the Senior Secured Notes for whom the holder acts as
nominee or in any other capacity.

RE:     NOTICE OF DISTRIBUTION PURSUANT TO PLAN OF REORGANIZATION TO
        THE HOLDERS OF 10.5% SENIOR SECURED NOTES DUE 2019 OF HOUGHTON
        MIFFLIN HARCOURT PUBLISHING COMPANY AND HOUGHTON MIFFLIN
        HARCOURT PUBLISHERS INC.

        Houghton Mifflin Harcourt Publishers Inc. and Houghton Mifflin Harcourt Publishing
Company, as issuers (the “Issuers”), certain guarantors and The Bank of New York Mellon Trust
Company, N.A., as trustee (the “Trustee”) are party to an Indenture dated as of May 26, 2011 (as
amended, the “Indenture”), under and pursuant to which the Issuers issued the above-described Senior
Secured Notes. All capitalized terms used herein and not otherwise defined have the meanings given
to those terms in the Indenture.

       On June 21, 2012, the United States Bankruptcy Court for the Southern District of New York
confirmed the Debtors’ Prepackaged Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy
Code, as modified (the “Plan”).

       The Company will have substantially consummated the reorganization contemplated by the
Plan on June 22, 2012 (the “Effective Date”).

       As of the close of trading on the Effective Date and subject to the procedures set forth in this
Notice, each beneficial holder of Senior Secured Notes (each a “Holder”) shall be entitled to receive
under the Plan a distribution of (i) new common stock of HMH Holdings (Delaware), Inc., par value
$0.01 per share (the “Common Stock”), in exchange for the Senior Secured Notes and (ii) its pro rata
share of $30.3 million in cash.

        Pursuant to this Notice, under the Plan each Holder of Senior Secured Notes will be entitled to
receive an aggregate number of 23.381668 shares of Common Stock per $1,000 principal amount of
Senior Secured Notes held by such Holder on the Effective Date, with any fractional interests rounded
down to the nearest whole share. Confirmation of registration of shares of Common Stock will be
distributed to Holders of Senior Secured Notes as the appropriate information is provided to the
Company as contemplated by the procedures set forth below. Holders must complete the registration
___________________________________________
*The CUSIP numbers are provided for informational purposes only and no representation is made of their accuracy.
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TO THE HOLDERS OF HOUGHTON MIFFLIN HARCOURT PUBLISHING COMPANY AND
HOUGHTON MIFFLIN HARCOURT PUBLISHERS INC. 10.5% SENIOR SECURED NOTES DUE 2019
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process described below in order to receive their distribution of Common Stock. If a Holder has not
completed the distribution process within 180 days of the Effective Date, the Holder will forfeit all
rights to the Common Stock.

        Pursuant to notice separately sent out to each Holder by the Trustee, under the Plan each
Holder of Senior Secured Notes will be entitled to receive $10.120733 per $1,000 principal amount of
Senior Notes held by such Holder on the Effective Date, with any fractional cents rounded down to the
nearest whole cent (the “Cash”). No action needs to be taken by the Holders of Senior Secured Notes
in order for such Holders to receive the Cash.

       Regarding the Common Stock, each Holder of a Senior Secured Note must execute and
deliver a signature page (the “Signature Page”) to the Investor Rights Agreement of HMH
Holdings (Delaware), Inc. (the “Investor Rights Agreement”) in the form enclosed herewith.
Kurtzman Carson Consultants, LLC (“KCC”) is acting as information agent for the distribution
pursuant to the Plan.

PROCEDURES FOR RECEIVING THE COMMON STOCK

       The shares of Common Stock are not DTC eligible and will not be distributed through
DTC.

       In order to facilitate the distribution of such Common Stock:

       1.      The DTC participant should distribute copies of the registration instruction sheet and
the Investor Rights Agreement to the Holders.

       2.      The Holder should complete the registration instruction sheet and execute the signature
page to the Investor Rights Agreement and return them to their DTC Participant, as directed.

       3.       The DTC participant should then take the following steps:

       •        Complete the Nominee Certification section of the Registration Instruction Sheet
                (including participant name, participant number, and medallion stamp).

       •        Confirm that it has received the Investor Rights Agreement signature page from the
                Holder.

       •        Send the originally executed and medallion stamped Registration Instruction Sheet and
                Investor Rights Agreement to KCC.

     HOLDERS OF SENIOR SECURED NOTES ARE ENCOURAGED TO READ THE
PLAN FOR A COMPLETE EXPLANATION OF THEIR RIGHTS UNDER THE PLAN.



_____________________________________________
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TO THE HOLDERS OF HOUGHTON MIFFLIN HARCOURT PUBLISHING COMPANY AND
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QUESTIONS ABOUT THE PLAN OR THE DISTRIBUTIONS

        DTC participants may contact KCC as information agent to obtain information about the
registration process:

                Kurtzman Carson Consultants, LLC as information agent
                599 Lexington Avenue, 39th Floor
                Attention: HMH Holdings Distribution
                New York, NY 10022
                (917) 281-4800

        Holders with questions about this Notice respecting the Senior Secured Notes and the
distribution of Common Stock under the Plan should direct them in writing, to KCC at the address
above.

                                                  HMH HOLDINGS (DELAWARE), INC.




_____________________________________________
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                               HMH Holdings (Delaware), Inc.
                                Registration Instruction Sheet

Please return this to your Nominee along with the signature page to the Investor Rights
Agreement. This information will be used to establish the registered stockholder account in the
name of the Beneficial Holder.




Name

Contact Name

Address1

Address2

City

State/Province

Country

Zip/ Postal Code

Phone ________________________________________________________________________

Fax __________________________________________________________________________

Email ________________________________________________________________________

Tax Identification Number ________________________________________________________
Check if non-US (no TIN)

Principal Amount of Notes Held for this account _____________________________________________
as of the Record Date (6/22/2012)


            NOMINEE MUST CERTIFY OWNERSHIP ON REVERSE SIDE.




                                                        10.5% Senior Secured Notes due 2019
                                                                        CUSIP 44157QAA9
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                           HMH Holdings (Delaware), Inc.
                Registration Instruction Sheet – Nominee Certification




                               For Use Only by the Nominee



           DTC Participant Name: ___________________________________


           DTC Participant Number: _________________________________



           Name of Beneficial Holder: _________________________________


           Principal Amount of Notes Held for this account as of the
           Record Date (6/22/2012):

                            $___________________________

           MEDALLION GUARANTEE:




           Nominee Contact Name and Telephone Number:


           Contact Name:_________________________________________




                                                        10.5% Senior Secured Notes due 2019
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                                                            EXECUTION VERSION




                          INVESTOR RIGHTS AGREEMENT


                                   by and among


                         HMH HOLDINGS (DELAWARE), INC.


                                        and


                                  THE HOLDERS




                              Dated as of June 22, 2012
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                              INVESTOR RIGHTS AGREEMENT

       THIS INVESTOR RIGHTS AGREEMENT (this “Agreement”) is made as of June 22,
2012 by and between HMH Holdings (Delaware), Inc., a Delaware corporation (the
“Company”), and each of the parties identified as “Investors” on the signature pages hereto and
any parties identified on the signature page of any joinder agreements executed and delivered
pursuant to Section 20 hereof (each, including the Investors, a “Holder” and, collectively, the
“Holders”). Capitalized terms used but not otherwise defined herein are defined in Section 1.

                                           RECITALS:

        WHEREAS the Company and certain of its direct and indirect subsidiaries have engaged
in a restructuring (the “Restructuring”) pursuant to the filing of cases under chapter 11 of title 11
of the United States Code and accompanying restructuring support agreement, disclosure
statement and prepackaged plan of reorganization (all such related documents, “Restructuring
Documents”);

      WHEREAS, pursuant to the terms of the Restructuring the Company proposes to issue
the Common Stock (as defined below).

       WHEREAS, in accordance with the Restructuring Documents, the Company has agreed
to provide certain rights for the benefit of each Holder, as follows:

        NOW, THEREFORE, in consideration of the premises and the mutual covenants
contained herein and other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Company and each Holder hereby agree as follows:

       1.      Definitions.

       “’34 Act Registration Filings” has the meaning specified in Section 18.

       “5% Requesting Holders” means a Requesting Holder (or a requesting Demand Holder
or Second Demand Holder, in the case of an Underwritten Shelf Takedown) that owns at least
5% of the issued and outstanding shares of Common Stock.

        “Affiliate” of any particular Person means any other Person directly or indirectly
controlling, controlled by or under common control with such Person.

       “Agreement” has the meaning specified in the first paragraph hereof.

       “Attorney-in-Fact” has the meaning specified in Section 5(b).

       “Automatic Shelf Registration Statement” means an “automatic shelf registration
statement” as defined in Rule 405 promulgated under the Securities Act.

       “beneficially own”, “beneficial ownership” and similar phrase as such terms are used in
Rule 13d-3 and Rule 13d-5 promulgated under the Exchange Act, except that in calculating the
beneficial ownership of any Holder, such Holder shall be deemed to have beneficial ownership
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of all securities that such Holder has the right to acquire, whether such right is currently
exercisable or is exercisable only upon the occurrence of a subsequent condition.

       “Board” means the Board of Directors of the Company.

        “Business Day” means any day other than a Saturday, Sunday or other day on which
commercial banks in New York City are authorized or required by applicable law or executive
order to close.

       “Commission” means the United States Securities and Exchange Commission or any
successor governmental agency.

     “Common Stock” means the shares of common stock, par value $0.01 per share, of the
Company, in each case, issued on or after the Effective Date.

       “Company” has the meaning specified in the first paragraph hereof.

       “Company Demand Registration Notice” has the meaning specified in Section 2(b).

       “Company Shelf Takedown Notice” has the meaning specified in Section 6(c).

       “Confidential Information” has the meaning specified in Section 19(b).

       “control” (including the terms “controlling,” “controlled by” and “under common control
with”) means, unless otherwise noted, the possession, directly or indirectly, of the power to direct
or cause the direction of the management and policies of a Person, whether through the
ownership of voting securities or interests, by contract, or otherwise.

       “Counsel to the Holders” means, with respect to any Shelf Takedown, one firm of
counsel, plus any local or foreign counsel, selected by the Holders of a majority of the
Registrable Securities requested to be included in such Shelf Takedown.

       “Custodian” has the meaning specified in Section 5(b)(iii).

       “Custody Agreement” has the meaning specified in Section 5(b)(iii).

        “Demand Holders” shall mean, at any time, any Holder or Holders of Registrable
Securities who, together with their Affiliates, beneficially own at least 15% of the outstanding
Common Stock at such time.

       “Demand Registration” has the meaning specified in Section 2(a)(ii).

       “Demand Registration Notice” has the meaning specified in Section 2(b).

       “Demand Shelf Takedown Notice” has the meaning specified in Section 6(c).

       “Determination Date” has the meaning specified in Section 6(g).

       “Diluted Drag-Along Percentage” has the meaning specified in Section 3(c).


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        “Disclosure Package” means, with respect to any offering of securities, (i) the
preliminary Prospectus, (ii) the price to the public and the number of securities included in the
offering to be included on the cover page of the Prospectus; (iii) each Free Writing Prospectus
and (iv) all other information, in each case, that is deemed, under Rule 159 promulgated under
the Securities Act, to have been conveyed to purchasers of securities at the time of sale of such
securities (including a contract of sale).

        “Effective Date” shall mean June 22, 2012.

        “Exchange Act” means the Securities Exchange Act of 1934, as amended from time to
time.

        “FINRA” means the Financial Industry Regulatory Authority.

       “First Priority Registrable Securities” means that number of shares of Common Stock
equal to the difference between (i) that number of shares of Common Stock a 5% Requesting
Holder requests to be included in a Demand Registration or Underwritten Shelf Takedown, as the
case may be, and (ii) that number of shares of Common Stock that equals 5% of the issued and
outstanding shares of Common Stock at the time of any relevant Demand Registration or
Underwritten Shelf Takedown, as the case may be.

        “Follow-On Registration Notice” has the meaning specified in Section 6(h)(i).

        “Follow-On Shelf” has the meaning specified in Section 6(h)(i).

        “Form S-1 Shelf” has the meaning specified in Section 6(a).

        “Form S-3 Shelf” has the meaning specified in Section 6(a).

      “Free Writing Prospectus” means any “free writing prospectus” as defined in Rule 405
promulgated under the Securities Act.

        “GAAP” means generally accepted accounting principles in the United States of America.

      “Hedging Counterparty” means a broker dealer registered under Section 15(b) of the
Exchange Act or an Affiliate thereof.

        “Hedging Transaction” means any transaction involving a security linked to the
Registrable Securities or any security that would be deemed to be a “derivative security” (as
defined in Rule 16a-1(c) promulgated under the Exchange Act) with respect to the Registrable
Securities or any transaction (even if not a security) which would (were it a security) be
considered such a derivative security, or which transfers some or all of the economic risk of
ownership of the Registrable Securities, including any forward contract, equity swap, put or call,
put or call equivalent position, collar, non-recourse loan, sale of an exchangeable security or
similar transaction. For the avoidance of doubt, the following transactions shall be deemed to be
Hedging Transactions:




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                        (i)     transactions by a Holder in which a Hedging Counterparty engages
in short sales of Registrable Securities pursuant to a prospectus and may use Registrable
Securities to close out its short position;

                      (ii)   transactions pursuant to which a Holder sells short Registrable
Securities pursuant to a prospectus and delivers Registrable Securities to close out its short
position;

                      (iii)   transactions by a Holder in which the Holder delivers, in a
transaction exempt from registration under the Securities Act, Registrable Securities to the
Hedging Counterparty who will then publicly resell or otherwise transfer such Registrable
Securities pursuant to a prospectus or an exemption from registration under the Securities Act;
and

                       (iv)   a loan or pledge of Registrable Securities to a Hedging
Counterparty who may then become a selling stockholder and sell the loaned shares or, in an
event of default in the case of a pledge, sell the pledged shares, in each case, in a public
transaction pursuant to a prospectus.

          “Holder” and “Holders” have the meanings given to those terms in the first paragraph
hereof.

        “Holder Free Writing Prospectus” means each Free Writing Prospectus prepared by or
on behalf of the relevant Holder or used or referred to by such Holder in connection with the
offering of Registrable Securities.

          “Incremental Shares” has the meaning specified in Section 3(b).

          “Incremental Share Notice” has the meaning specified in Section 3(c).

       “Initial Public Offering” means the initial underwritten public offering of Common
Stock by the Company or any Holder pursuant to an effective registration statement filed by the
Company with the Commission (other than on Forms S-4 or S-8 or successors to such forms)
under the Securities Act.

          “Investors” has the meaning specified in the first paragraph hereof.

          “IPO Demand Registration” has the meaning specified in Section 2(a)(i).

          “IPO Drag-Along Percentage” has the meaning specified in Section 3(a).

          “IPO Drag-Along Sale” has the meaning specified in Section 3(a).

          “IPO Drag-Along Sale Notice” has the meaning specified in Section 3(b).

          “IPO Drag-Along Shares” has the meaning specified in Section 3(c).

          “IPO Dragged Holder” has the meaning specified in Section 3(b).



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       “IPO Requesting Holder” has the meaning specified in Section 2(a)(i).

        “IPO Sale Amount” means an amount equal to the IPO Drag-Along Percentage
multiplied by the aggregate number of Registrable Securities held at such time by all Holders.

       “Lock-Up Period” has the meaning specified in Section 9(a).

       “Long-Form Registration” has the meaning specified in Section 2(a)(ii).

       “Losses” has the meaning specified in Section 13(d).

       “Majority Holders” has the meaning specified in Section 18.

       “NYSE” means the New York Stock Exchange.

       “Other Holders” has the meaning specified in Section 7(c).

        “Person” means an individual, a partnership, a corporation, a limited liability company,
an association, a joint stock company, a trust, a joint venture, an unincorporated organization, a
governmental entity or any department, agency or political subdivision thereof or any other
entity.

       “Piggyback Registration” has the meaning specified in Section 7(a).

       “Piggyback Takedown” has the meaning specified in Section 7(a).

       “Prospective Transferee” has the meaning specified in Section 19(a).

       “Prospective Transferee Representatives” has the meaning specified in Section 19(a).

       “Prospectus” means the prospectus used in connection with a Registration Statement.

        “Registrable Securities” means at any time any shares of Common Stock (i) issued on or
after the Effective Date to any Holder and held or beneficially owned by such Holder or (ii) held
or beneficially owned by any Holder, including any Common Stock issued pursuant to the
Restructuring Documents or upon the conversion, exercise or exchange, as applicable, of any
other securities and/or interests issued pursuant to the Restructuring Documents, including shares
of Common Stock acquired in open market or other purchases after the Effective Date; provided,
however, that at any time after 180 days after an Initial Public Offering, as to any Registrable
Securities, such securities shall cease to constitute Registrable Securities upon the earliest to
occur of: (A) the date on which such securities are disposed of pursuant to an effective
registration statement under the Securities Act; (B) the date on which such securities are disposed
of pursuant to Rule 144 (or any successor provision) or another similar exemption promulgated
under the Securities Act; (C) the date on which a Holder ceases to hold or beneficially own at
least 1% of the outstanding shares of Common Stock; or (D) the date on which such securities
cease to be outstanding.




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        “Registration Expenses” means all expenses (other than underwriting discounts and
commissions) arising from or incident to the registration of Registrable Securities in compliance
with this Agreement, including:

       (i)     stock exchange, Commission, FINRA and other registration and filing fees,

       (ii)     all fees and expenses incurred in connection with complying with any securities
or blue sky laws (including fees, charges and disbursements of counsel in connection with blue
sky qualifications of the Registrable Securities),

       (iii)   all printing, messenger and delivery expenses,

        (iv)    the fees, charges and disbursements of counsel to the Company and of its
independent public accountants and any other accounting and legal fees, charges and expenses
incurred by the Company (including any expenses arising from any special audits or “comfort
letters” required in connection with or incident to any registration),

        (v)    the fees and expenses incurred in connection with the listing of the Registrable
Securities on NYSE (or any other national securities exchange),

      (vi)    the fees and expenses incurred in connection with any “road show” for
Underwritten Offerings, and

       (vii) reasonable and documented out-of-pocket fees, charges and disbursements of
Counsel to the Holders, reasonably acceptable to the Company, including, for the avoidance of
doubt, any expenses of Counsel to the Holders in connection with the filing or amendment of any
Registration Statement, Prospectus or Free Writing Prospectus hereunder;

       provided that, in no instance shall Registration Expenses include Selling Expenses.

       “Registration Notice” has the meaning specified in Section 6(a).

       “Registration Statement” means any registration statement filed hereunder or in
connection with a Piggyback Takedown.

       “Representatives” has the meaning specified in Section 19(b).

       “Requested IPO Drag-Along Sale Notice” has the meaning specified in Section 3(a).

       “Requesting Holder” has the meaning specified in Section 2(a)(ii).

        “Required Information” means (i) information (A) reasonably requested by the
Company or the lead underwriters or their counsel that is necessary in connection with the Initial
Public Offering, including any information required by any law or governmental entity in
connection with an Initial Public Offering, including information necessary to comply with the
Commission disclosure requirements, FINRA review of the offering and any required tax forms
or certificates or (B) reasonably requested by counsel to the Company to provide an opinion to
the underwriters as to due authorization, execution and delivery of documents and valid transfer


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of title to the Registrable Securities, (ii) any certificates or other applicable instruments
representing the Registrable Securities of any IPO Dragged Holder to be included in the IPO
Drag-Along Sale, together with a notarized, limited power-of-attorney authorizing the Company
or its representative to Transfer such Registrable Securities on the terms contemplated in the IPO
Drag-Along Sale Notice and receive payment therefor and to execute a lock-up letter as set forth
in Section 3 and wire transfer or other instructions for payment of the consideration for the
Registrable Securities being Transferred in such IPO Drag-Along Sale and (iii) all other
documents reasonably required to be executed in connection with the IPO Drag-Along Sale.

       “Restructuring” has the meaning specified in the Recitals.

       “Restructuring Documents” has the meaning specified in the Recitals.

       “Second Demand Holder” shall mean, at any time, any Holder of Registrable Securities
who, together with its Affiliates, beneficially owns at least 15% of the outstanding Common
Stock at such time.

       “Second Priority Registrable Securities” means the number of shares of Common Stock
equal to the difference between (i) that number of shares of Common Stock a 5% Requesting
Holder requests to be included in a Demand Registration or Underwritten Shelf Takedown, as the
case may be, and (ii) the number of First Priority Registrable Securities.

       “Securities Act” means the Securities Act of 1933, as amended from time to time.

        “Selling Expenses” means the underwriting fees, discounts, selling commissions and
stock transfer taxes applicable to all Registrable Securities registered by the Holders and legal
expenses not included within the definition of Registration Expenses.

       “Shelf” has the meaning specified in Section 6(a).

       “Shelf Registration” means a registration of securities pursuant to a registration
statement filed with the Commission in accordance with and pursuant to Rule 415 promulgated
under the Securities Act (or any successor rule then in effect).

      “Shelf Takedown” means either an Underwritten Shelf Takedown or a Piggyback
Takedown.

       “Short-Form Registration” has the meaning specified in Section 2(a)(ii).

       “Suspension Period” has the meaning specified in Section 8(a).

       “Transfer Confidentiality Agreement” has the meaning specified in Section 19(a).

       “Underwritten Offering” means any underwritten Demand Registration, Underwritten
Shelf Takedown or a Piggyback Takedown.

       “Underwritten Shelf Takedown” has the meaning specified in Section 6(b).




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       “Underwriting Agreement” has the meaning specified in Section 5(b)(ii).

        “Well-Known Seasoned Issuer” means a “well-known seasoned issuer” as defined in
Rule 405 promulgated under the Securities Act and which (i) is a “well-known seasoned issuer”
under paragraph (1)(i)(A) of such definition or (ii) is a “well-known seasoned issuer” under
paragraph (1)(i)(B) of such definition and is also eligible to register a primary offering of its
securities relying on General Instruction I.B.1 of Form S-3 or Form F-3 under the Securities Act.

       2.      Demand Registrations.

               (a)    Requests for Registration.

                       (i)    At any time after January 1, 2013 and prior to an Initial Public
Offering, a Holder or Holders of Registrable Securities holding Common Stock of the Company
aggregating at least 25% of the outstanding Common Stock (the “IPO Requesting Holders”)
may request registration under the Securities Act of all or any portion of the Registrable
Securities held by such IPO Requesting Holders on Form S-1 or similar long-form registration
(the “IPO Demand Registration”); provided that in the case of the IPO Demand Registration
such Holder (or Holders) will be entitled to make such demand only if the total offering price of
the Registrable Securities to be sold in such offering (including piggyback shares and before
deduction of underwriting discounts) is reasonably expected to exceed, in the aggregate, $150
million; provided, further, that the Registration Statement effecting such IPO Demand
Registration shall not be required to become effective until April 1, 2013. The IPO Requesting
Holders may request that the IPO Demand Registration be an underwritten offering.

                       (ii)    At any time after the Initial Public Offering, any Demand Holders
or Second Demand Holder (in such capacity, the “Requesting Holder”) may request registration
under the Securities Act of all or any portion of the Registrable Securities held by such
Requesting Holder on Form S-1 or similar long-form registration (a “Long-Form Registration”)
with respect to up to one Long-Form Registration per annum (provided that any Second Demand
Holder may request up to two Long-Form Registrations per annum) and an unlimited number of
registrations under the Securities Act of all or any portion of the Registrable Securities held by
such Requesting Holder on Form S-3 or any similar short-form registration (a “Short-Form
Registration”), if available (any registration under this Section 2(a), a “Demand Registration”).
At the request of any Requesting Holder, any offering conducted under a Long-Form
Registration or a Short-Form Registration shall be an underwritten offering, but only if the total
offering price of the Registrable Securities to be sold in such offering (including piggyback
shares and before deduction of underwriting discounts) is reasonably expected to exceed, in the
aggregate, $100 million.

               (b)   Demand Registration Notices. All requests for Demand Registrations
(including the IPO Demand Registration) shall be made by giving written notice to the Company
(the “Demand Registration Notice”). Each Demand Registration Notice shall specify (i)
whether such Demand Registration shall be an underwritten offering, (ii) the approximate
number of Registrable Securities proposed to be sold in the Demand Registration and (iii) the
expected price range (net of underwriting discounts and commissions) of such Demand
Registration. Within five Business Days after receipt of any Demand Registration Notice, the


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Company shall give written notice of such requested Demand Registration to all other Holders of
Registrable Securities (the “Company Demand Registration Notice”) and, subject to the
provisions of Section 2(e) below, shall include in such Demand Registration all Registrable
Securities with respect to which the Company has received written requests for inclusion therein
within 10 Business Days after delivery of the Company Demand Registration Notice.

                (c)     Long-Form Registrations. A registration shall not count as one of the
permitted Long-Form Registrations until both (i) it has become effective (unless such Long-
Form Registration has not become effective due solely to the fault of the Demand Holders or
Second Demand Holder requesting such registration) and (ii) the Demand Holders or Second
Demand Holder initially requesting such registration is able to register and sell pursuant to such
registration at least 90% of the Registrable Securities requested to be included in such
registration either at the time of the registration or within 90 days thereafter; provided that a
Long-Form Registration which is withdrawn at the sole request of the Demand Holders or
Second Demand Holder who demanded such Long-Form Registration will count as a Long-Form
Registration unless the Company is reimbursed by such Demand Holders or Second Demand
Holder for all reasonable out-of-pocket expenses incurred by the Company in connection with
such registration, including reasonable attorney and accounting fees.

              (d)    Short-Form Registrations. Demand Registrations shall be Short Form
Registrations whenever the Company is permitted to use an applicable short form. Promptly
after the Company has become subject to the reporting requirements of the Exchange Act, the
Company shall use its commercially reasonable efforts to make Short-Form Registrations on
Form S-3 (or any successor form) available for the sale of Registrable Securities.

                (e)      Priority on Demand Registrations. If the Demand Registration is an
underwritten offering and the managing underwriters for such Demand Registration advise the
Company and the applicable Requesting Holders that the number of Registrable Securities and, if
permitted hereunder, other securities requested to be included in such Demand Registration
exceeds the number of Registrable Securities and other securities, if any, which can be sold in an
orderly manner in such offering within a price range acceptable to the Holders of a majority of
the Registrable Securities requested to be included in the Demand Registration, the Company
shall include in such Demand Registration the number of Registrable Securities which can be so
sold in the following order of priority: (i) first, the First Priority Registrable Securities requested
to be included in such Demand Registration by the 5% Requesting Holders, pro rata among such
5% Requesting Holders holding First Priority Registrable Securities on the basis of the total
number of shares of Common Stock owned by each such 5% Requesting Holder immediately
prior to such offering; (ii) second, all Registrable Securities of all other Holders requested to be
included in such Demand Registration and all Second Priority Registrable Securities requested to
be included in such Demand Registration by the 5% Requesting Holders, pro rata among all
such Holders on the basis of the number of shares of Common Stock owned by each such Holder
after taking into account sales in the offering of the First Priority Registrable Securities; and (iii)
third, the securities the Company proposes to sell; provided however that, with respect to the IPO
Demand Registration only as to which Section 3 does not apply, the order of priority shall be as
follows: (x) first, the Registrable Securities requested to be included in such Demand
Registration by the Requesting Holders and the other Registrable Securities requested to be
included in such Demand Registration by Holders, which in the judgment of such underwriter


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can be sold in an orderly manner within the price range of such offering, pro rata among all such
Holders of such Registrable Securities on the basis of the number of Registrable Securities
requested to be included therein by each such Holder; and (y) second, the securities the Company
proposes to sell.

                (f)     Restrictions on Demand Registrations. The Company shall not be
obligated to effect (i) any Long-Form Registration within 180 days or (ii) any Short-Form
Registration within 120 days, in each case, after the effective date of a previous Demand
Registration or a previous registration in which the Holders of Registrable Securities were given
piggyback rights pursuant to Section 7 and in which such Holders were able to register and sell
at least 90% of the number of Registrable Securities requested to be included therein. In
addition, the Company shall not be obligated to effect any Demand Registration during the
period starting with the date that is 60 days prior to the Board’s good faith estimate of the date of
filing of, and ending on the date that is 120 days (unless the underwriting agreement requires a
longer period of time) after the effective date of, a Company initiated registration statement,
provided that the Company is actively employing in good faith all commercially reasonable
efforts to cause such registration to become effective, and provided further that the aggregate
number of days that any one or more Demand Registrations are suspended or delayed by
operation of this Section 2(f) shall not exceed 120 days in any 12-month period. In the event of
any such suspension or delay, the Holder of Registrable Securities initially requesting a Demand
Registration that is suspended by operation of this Section 2(f) shall be entitled to withdraw such
request and, if such request is withdrawn, such Demand Registration shall not count as one of the
permitted Demand Registrations hereunder, and, notwithstanding the proviso in Section 2(c), the
Company shall pay all Registration Expenses in connection with such registration.

               (g)     Selection of Underwriters. The Holders of a majority of the Registrable
Securities requested to be included in a Demand Registration which is an underwritten offering
shall have the right to select the investment banker(s) and manager(s) to administer the offering
(which shall consist of one or more reputable nationally recognized investment banks), subject to
the Company’s approval which shall not be unreasonably withheld, conditioned or delayed.

               (h)    Transfer of Demand Rights. The rights of a Holder under this Section 2
may be transferred, assigned or otherwise conveyed in whole or in part, to any transferee or
assignee, provided that the requirements of Section 20 are satisfied.

       3.      IPO Drag-Along Rights.

                (a)     At any time after January 1, 2013, in connection with an exercise of the
IPO Demand Registration, the IPO Requesting Holders may deliver a notice to the Company (the
“Requested IPO Drag-Along Sale Notice”) of the IPO Requesting Holders’ intention to sell
Registrable Securities in an Initial Public Offering and invoking the provisions of this Section 3;
provided, that the offering price of the Registrable Securities in such Initial Public Offering must
equate to a total equity value of the Company of not less than $1.5 billion (an “IPO Drag-Along
Sale”). Any Requested IPO Drag-Along Sale Notice shall identify the maximum amount of
Registrable Securities required to be sold in such Initial Public Offering by each Holder, which
maximum amount shall not exceed 15% of the Common Stock held by each Holder and required
to be sold (inclusive of shares subject to a customary overallotment option granted to the


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underwriters), subject to Section 3(c) and subject to any adjustment to be implemented pursuant
to Section 4, which adjustment shall not increase such percentage above 15% (in each case,
inclusive of shares subject to a customary over-allotment option granted to the underwriters) (the
“IPO Drag-Along Percentage”). Any Requested IPO Drag-Along Sale Notice shall terminate
and be of no further force and effect if the offering price of the Registrable Securities in such
IPO Drag-Along Sale does not equate to a total equity value of the Company of at least $1.5
billion. Any Requested IPO Drag-Along Sale Notice shall be irrevocable once delivered to the
Company.

                 (b)    If the IPO Requesting Holders deliver the IPO Drag-Along Sale Notice,
each Holder including, for avoidance of doubt, each of the IPO Requesting Holders, but
expressly excluding any employee of the Company who is employed by the Company on the
date of the Requested IPO Drag-Along Sale Notice (each Holder, a “IPO Dragged Holder”)
shall (A) sell in the Initial Public Offering Registrable Securities equal to (subject to increase or
reduction as provided in Section 3(c) and subject to exercise of the over-allotment option) (i) the
IPO Drag-Along Percentage times (ii) the number of Registrable Securities held by such Holder,
in each case at the price determined pursuant to Section 4 and in accordance with other
provisions of this Section 3; and (B) otherwise take all other actions reasonably necessary or
desirable to consummate the IPO Drag-Along Sale and the Initial Public Offering; provided that
this clause (B) shall not obligate any IPO Dragged Holder to enter into any lockup or restriction
on Transfers other than as specifically provided in this Agreement or incur costs or liabilities
other than as specifically provided in this Agreement, including Section 13 and Section 14. The
Company shall provide notice of an IPO Drag-Along Sale to each IPO Dragged Holder (a “IPO
Drag-Along Sale Notice”) not later than ten (10) Business Days prior to the scheduled launch of
marketing of the proposed Initial Public Offering. The IPO Drag-Along Sale Notice shall (i)
identify the IPO Drag-Along Percentage, (ii) notify the IPO Dragged Holders (x) of any
Required Information that such IPO Dragged Holder is required to provide in connection with
the IPO Drag-Along Sale and (y) that, subject to Section 3(c), each IPO Dragged Holder may sell
in the Initial Public Offering a number of Registrable Securities which represents a percentage of
the Registrable Securities held by such IPO Dragged Holder that is (i) equal to the IPO Drag-
Along Percentage and an additional number that is greater than the IPO Drag-Along Percentage
(any such Registrable Securities pursuant to this clause (i) in addition to the IPO Drag-Along
Percentage, “Incremental Shares”), (ii) equal to the IPO Drag-Along Percentage without any
reduction to such sales resulting from sales by other IPO Dragged Holders or (iii) equal to the
Diluted IPO Drag-Along Percentage, in each case at the same price as the price in the IPO Drag-
Along Sale. Each IPO Dragged Holder shall be required to participate in the IPO Drag-Along
Sale on the terms and conditions set forth in the IPO Drag-Along Sale Notice, so long as the
offering price of the Registrable Securities in such IPO Drag-Along Sale equates to a total equity
value of the Company of not less than $1.5 billion, on the terms and conditions set forth in the
IPO Drag-Along Sale Notice.

               (c)     Each IPO Dragged Holder shall provide notice to the Company (an
“Incremental Share Notice”) not later than seven (7) Business Days after receipt of the IPO
Drag-Along Sale Notice, which notice shall specify one (but only one) of the following three
options with respect to such IPO Dragged Holder’s Registrable Securities: (x) such IPO Dragged
Holder desires to sell the IPO Drag-Along Percentage and a greater fixed percentage of its
Registrable Securities above the IPO Drag-Along Percentage (and specify the percentage desired


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to be sold), (y) such IPO Dragged Holder desires to sell the IPO Drag-Along Percentage of its
Registrable Securities without any reduction to such sales resulting from sales by other IPO
Dragged Holders or (z) such IPO Dragged Holder is willing to have the Registrable Securities
sold by it reduced (down to zero, if applicable) by the sales of Incremental Shares being sold in
the Initial Public Offering (such Registrable Securities, the “IPO Drag-Along Shares”). The
Registrable Securities to be sold in the Initial Public Offering shall be sold as follows: (i) first, all
of the Registrable Securities requested to be sold pursuant to clause (y) of the preceding sentence
and the IPO Drag-Along Percentage of the Registrable Securities held by Holders that elected to
sell Incremental Shares pursuant to clause (x) of the preceding sentence; (ii) second, all of the
Incremental Shares requested to be sold pursuant to the Incremental Share Notices in excess of
those to be sold pursuant to clause (i); and (iii) third, the percentage of Registrable Securities to
be sold by the remaining IPO Dragged Holders (such percentage, the “Diluted Drag-Along
Percentage”), which shall be determined by deducting the number of the Registrable Securities
sold pursuant to clauses first and second above from the IPO Sale Amount, applying such
reduction pro rata to the IPO Drag-Along Percentage for the Registrable Securities of the
remaining IPO Dragged Holders subject to the IPO Drag-Along Notice and then selling the
Registrable Securities (if any) subject to such Diluted IPO Drag-Along Percentage. For the
avoidance of doubt, whether or not an IPO Dragged Holder elects to give an Incremental Share
Notice or sells any Incremental Shares, such IPO Dragged Holder shall nonetheless be obligated
to sell the percentage of such Holder’s Registrable Securities pursuant to the IPO Drag-Along
Sale as set forth in Section 3(b) (as reduced, to the extent applicable, by the immediately
preceding sentence). If an IPO Dragged Holder does not give a notice pursuant to this Section
3(c), then such IPO Dragged Holder shall be deemed to have requested to sell Registrable
Securities pursuant to clause (y) of the first sentence of this Section 3(c).

                (d)     If the managing underwriters for such IPO Drag-Along Sale advise the
Company and the IPO Dragged Holders that the number of Registrable Securities and, if
permitted hereunder, other securities requested to be included in such IPO Drag-Along Sale
exceeds the number of Registrable Securities and other securities, if any, which can be sold in an
orderly manner in such offering within a price range required pursuant to Section 3, the
Company shall include in such IPO Drag-Along Sale the number of Registrable Securities which
can be so sold in the following order of priority: (i) first, the Registrable Securities requested to
be included in such IPO Drag-Along Sale in clause (y) of the first sentence of Section 3(c) and
the IPO Drag-Along Percentage of the Registrable Securities held by Holders that elected to sell
Incremental Shares pursuant to clause (x) of the first sentence of Section 3(c), (ii) second, the
Incremental Shares requested to be included in such IPO Drag-Along Sale in clause (x) of the
first sentence of Section 3(c), pro rata among the respective IPO Dragged Holders of such
Incremental Shares on the basis of the number of Registrable Securities requested to be included
therein by each such IPO Dragged Holder, (iii) third, the securities the Company proposes to sell,
if any third and (iv) fourth, the Registrable Securities requested to be included in such IPO Drag-
Along Sale in clause (z) of the first sentence of Section 3(c), pro rata among the respective IPO
Dragged Holders of such Registrable Securities on the basis of the number of Registrable
Securities requested to be included therein by each such IPO Dragged Holder.

                (e)    Each IPO Dragged Holder shall deliver, within three (3) Business Days
after receipt of the IPO Drag-Along Sale Notice, the Required Information with respect to such
IPO Dragged Holder.


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                 (f)     If the offering price of the Registrable Securities in such IPO Drag-Along
Sale does not equate to a total equity value of the Company of at least $1.5 billion, the Company
shall return to each of the IPO Dragged Holders the limited power-of-attorney and all
certificates, if any, that such IPO Dragged Holders have delivered for transfer pursuant hereto,
together with any other documents in the possession of the Company executed by the IPO
Dragged Holders in connection with the proposed IPO Drag-Along Sale. Subject to compliance
with the immediately preceding sentence, neither the Company (or its managers or officers) nor
any IPO Requesting Holder shall have any liability to any Holder if an IPO Drag-Along Sale or
an Initial Public Offering is not consummated for any reason.

                (g)     The provisions of this Section 3 shall not be deemed to impose any
restrictions on transfer until the date that is seven days prior to the pricing of the proposed Initial
Public Offering and any such restrictions shall terminate if the Initial Public Offering is not
consummated.

              (h)    The Company and the IPO Dragged Holders agree that no IPO Dragged
Holder (including any IPO Requesting Holder) that complies with the provisions of this Section
3 shall be required to pay any underwriting spread to any underwriter in the Initial Public
Offering implemented pursuant to the IPO Drag-Along Sale and that the Company will pay such
underwriters a commission in lieu of such underwriting spread in connection with the Initial
Public Offering implemented pursuant to the IPO Drag-Along Sale.

                (i)    In the event that an over-allotment option is granted to the underwriters of
an Initial Public Offering and such over-allotment option expires and has not been exercised in
full in accordance with its terms or less than all the IPO Drag-Along Shares or Incremental
Shares are sold in an Initial Public Offering as a result of Section 3(c), the Company shall be
obligated to promptly return to each of the IPO Dragged Holders all certificates, if any,
representing such Registrable Securities and any applicable transfer instruments in respect
thereof that such IPO Dragged Holders have delivered for transfer pursuant hereto with respect
to the portion of such IPO Dragged Holder’s IPO Drag-Along Shares or Incremental Shares that
remain unsold as a result thereof.

        4.      Drag Adjustments and Pricing. Each of (i) the sale price for the Registrable
Securities to be offered in connection with the Initial Public Offering implemented pursuant to
the IPO Drag-Along Sale, (ii) the selection of investment banker(s) and manager(s) to administer
the offering (which shall consist of one or more reputable nationally recognized investment
banks) and (iii) any revision to the IPO Drag-Along Percentage from the amount specified in the
Requested IPO Drag-Along Sale Notice, which revision may not cause the IPO Drag-Along
Percentage to exceed 15% of the Common Stock held by each Holder (inclusive of shares
subject to a customary overallotment option granted to the underwriters), shall be determined by
the Board.

       5.      Power of Attorney.

              (a)     In order to enforce Section 3 and Section 4, each Holder hereby grants this
irrevocable power of attorney to the Company to sell the IPO Dragged Holder’s IPO Drag-Along




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Shares in accordance with the terms of this Agreement in the event that such IPO Dragged
Holder fails to act in accordance with its obligations pursuant to Section 3 and Section 4.

                (b)     In connection with the foregoing, each undersigned Holder hereby
irrevocably appoints the Company or its substitute under Section 5(e), with full power of
substitution, the attorney-in-fact (the “Attorney-in-Fact”) of the undersigned, and agrees that the
Attorney-in-Fact may also act as attorney-in-fact for other IPO Dragged Holders, with full power
and authority in the name of, and for and on behalf of, the undersigned:

                        (i)     to do all things necessary, subject to the terms of this Agreement,
to sell to the underwriters up to the IPO Drag-Along Shares;

                       (ii)    for the purpose of effecting such sale, to negotiate, execute, deliver
and perform the undersigned’s obligations under an underwriting agreement (the “Underwriting
Agreement”) among the Company, the IPO Dragged Holders and representatives of the several
underwriters, subject to the terms of this Agreement, including but not limited to Section 14, as
may be approved in the sole discretion of the Attorney-in-Fact, such approval to be conclusively
evidenced by the execution and delivery of the Underwriting Agreement by the Attorney-in-Fact;

                     (iii) for the purpose of effecting such sale, to negotiate, execute, deliver
and perform the undersigned’s obligations under a custody agreement (the “Custody
Agreement”) pursuant to which up to the IPO Drag-Along Shares will continue to be deposited
in book-entry form with Computershare, Ltd. or any successor transfer agent, who will hold such
IPO Drag-Along Shares, as custodian (the “Custodian”) under the Custody Agreement, as may
be approved in the sole discretion of the Attorney-in-Fact, such approval to be conclusively
evidenced by the execution and delivery of the Custody Agreement by the Attorney-in-Fact;

                       (iv)   subject to the terms of this Agreement, to execute and deliver any
amendments, modifications or supplements to the Underwriting Agreement and the Custody
Agreement or to amend, modify or supplement any of the terms thereof including, without
limitation, the terms of the offering; provided, however that no such amendment shall increase
the number of the Registrable Securities to be sold by the undersigned to more than the IPO
Drag-Along Shares in the aggregate;

                       (v)     subject to the terms of this Agreement, to give such orders and
instructions to the Custodian or any other person as the Attorney-in-Fact may determine,
including, without limitation, orders or instructions for the following: (i) the transfer on the
books of the Company of the IPO Drag-Along Shares in order to effect their sale (including the
names in which the IPO Drag-Along Shares are to be issued in book-entry form and the
denominations thereof), (ii) the purchase of any transfer tax stamps necessary in connection with
the transfer of the IPO Drag-Along Shares, (iii) the delivery to or for the account of the
Underwriters of the IPO Drag-Along Shares in book entry form against receipt by the Custodian
of the purchase price therefor, (iv) the payment by the Custodian out of the proceeds of any sale
of the IPO Drag-Along Shares to the Underwriters of all expenses as are to be borne by the
undersigned in accordance with the terms of the Underwriting Agreement, (v) the remittance by
the Custodian of the net balance of the proceeds from any sale of the IPO Drag-Along Shares to
be sold in accordance with the payment instructions set forth in the Custody Agreement or such


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other instructions as the Attorney-in-Fact may, upon the instructions of the undersigned, have
given to the Custodian in accordance with the Custody Agreement, and (vi) the return to the
undersigned of the IPO Drag-Along Shares, if any, represented in book entry form deposited
with the Custodian which are in excess of the number of IPO Drag-Along Shares sold by the
undersigned to the Underwriters as specified in the Underwriting Agreement and to be sold at
any subsequent time of delivery;

                       (vi)   subject to the terms of this Agreement, to arrange for, prepare or
cause to be prepared the Registration Statement and all amendments and supplements thereto and
take all actions as may be necessary or deemed to be advisable by the Attorney-in-Fact with
respect to the Registration Statement and all amendments and supplements thereto, including,
without limitation, the execution, acknowledgment and delivery of all such certificates, powers,
reports, assurances, documents, letters and consents, as may be necessary or deemed to be
advisable by the Attorney-in-Fact or any of them in connection therewith, and execute,
acknowledge and deliver any and all certificates, powers, assurances, reports, documents, letters
and consents to the Commission, appropriate authorities of states or other jurisdictions, the
Underwriters or legal counsel, which may be required or appropriate in connection with the
registration of the IPO Drag-Along Shares under the Securities Act or the securities or blue sky
laws of the various states and jurisdictions or to facilitate sales of the IPO Drag-Along Shares;
and to join the Company in withdrawing the Registration Statement if the Company should
desire to withdraw such registration;

                       (vii) to retain legal counsel in connection with any and all matters
referred to herein (which counsel may, but need not be, counsel for the Company);

                       (viii) subject to the terms of this Agreement, to agree upon the allocation
and to arrange payment therefor of the expenses of the Initial Public Offering (including, without
limitation, the fees and expenses of the Custodian and the fees and expenses of counsel referred
to above) between and among the Company and the IPO Dragged Holders, including the
undersigned;

                     (ix)  to endorse (in blank or otherwise) on behalf of the undersigned a
stock power or powers; and

                         (x)     subject to the terms of this Agreement, to make, execute,
acknowledge and deliver all other contracts, orders, receipts, notices, requests, instructions,
certificates, letters and other writings, including communications to the Commission (including a
request or requests for acceleration of the effective date of the Registration Statement) and state
securities law authorities, any amendments to the Underwriting Agreement, the Custody
Agreement or any agreement with the Company with regard to expenses, and certificates and
other documents required to be delivered by or on behalf of the undersigned pursuant to the
Underwriting Agreement or the Custody Agreement, and specifically to execute on behalf of the
undersigned stock powers and transfer instructions relating to the IPO Drag-Along Shares to be
sold by the undersigned, and in general to do all things and to take all action which the Attorney-
in-Fact may consider necessary or proper in connection with, or to carry out and comply with, all
terms and conditions of the Underwriting Agreement and the Custody Agreement and the
aforesaid sale of IPO Drag-Along Shares to the Underwriters.


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               (c)     For the avoidance of doubt, this Section 5 does not confer any authority to
the Attorney-in-Fact (i) to waive, amend or modify any rights or benefits granted to any Holder
pursuant to the terms of this Agreement or any other term of this Agreement or (ii) to take any
action inconsistent with any such rights or benefits.

                 (d)    This Power of Attorney and all authority conferred hereby are granted and
conferred subject to the interests of the Underwriters and the other IPO Dragged Holders; and, in
consideration of those interests and for the purpose of completing the transactions contemplated
by the Underwriting Agreement and this Power of Attorney, this Power of Attorney and all
authority conferred hereby, to the extent enforceable by law, shall be deemed an agency coupled
with an interest and be irrevocable and not subject to termination by the undersigned or by
operation of law, whether by the death or incapacity of the undersigned or any executor or
trustee or the termination of any estate or trust or by the dissolution or liquidation of any entity or
by the occurrence of any other event, and the obligations of the undersigned under the
Underwriting Agreement similarly are not to be subject to termination. If any such individual or
any such executor or trustee should die or become incapacitated or if any such estate or trust
should be terminated or if any such entity should be dissolved or liquidated or if any other such
event should occur before the delivery of the IPO Drag-Along Shares to be sold by the
undersigned under the Underwriting Agreement, the IPO Drag-Along Shares shall be delivered
by or on behalf of the undersigned in accordance with the terms and conditions of the
Underwriting Agreement and the Custody Agreement and all other actions required to be taken
under the Underwriting Agreement or the Custody Agreement shall be taken, and actions taken
by the Attorney-in-Fact pursuant to this Power of Attorney and by the Custodian under the
Custody Agreement shall be as valid as if such death, incapacity, termination, dissolution,
liquidation or other event had not occurred, regardless of whether or not the Custodian or the
Attorney-in-Fact shall have received notice of such death, incapacity, termination, dissolution,
liquidation or other event.

              (e)      The undersigned ratifies that the Attorney-in-Fact shall have full power to
make and substitute any person in the place and stead of the Attorney-in-Fact, and hereby ratifies
and confirms all that each Attorney-in-Fact or substitute or substitutes shall do by virtue of these
presents.

               (f)      The Attorney-in-Fact shall be entitled to act and rely upon any statement,
request, notice or instructions respecting this Power of Attorney given to it by the undersigned,
not only as to the authorization, validity and effectiveness thereof, but also as to the truth and
acceptability of any information therein contained.

       6.      Shelf Registrations.

                (a)     Filing. As soon as the Company is required to file reports under Section
13 or Section 15(d) of the Exchange Act, the Company shall commence using its commercially
reasonable efforts to file a Registration Statement for a Shelf Registration on Form S-1 covering
the resale of the Registrable Securities on a delayed or continuous basis (the “Form S-1 Shelf”).
The Company shall use commercially reasonable efforts to cause the Form S-1 Shelf to become
effective as soon as practicable after such filing. The Company shall give written notice of the
filing of the Registration Statement at least 15 days prior to filing the Registration Statement to


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all Holders of Registrable Securities (the “Registration Notice”) and shall include in such
Registration Statement all Registrable Securities with respect to which the Company has
received written requests for inclusion therein within 20 days after delivery of the Registration
Notice. The Company shall maintain the Shelf in accordance with the terms hereof. The
Company shall use its commercially reasonable efforts to convert the Form S-1 Shelf (and any
Follow-On Shelf) to a Registration Statement for a Shelf Registration on Form S-3 (the “Form
S-3 Shelf,” and together with the Form S-1 Shelf (and any Follow-On Shelf), the “Shelf”) as
soon as practicable after the Company is eligible to use Form S-3.

                (b)    Requests for Underwritten Shelf Takedowns. At any time and from time
to time after the Shelf has been declared effective by the Commission, any Demand Holder or
Second Demand Holder may request to sell all or any portion of their Registrable Securities in an
underwritten offering that is registered pursuant to the Shelf (each, an “Underwritten Shelf
Takedown”); provided that in the case of each such Underwritten Shelf Takedown such Demand
Holders or Second Demand Holder will be entitled to make such demand only if the total
offering price of the Registrable Securities to be sold in such offering (including piggyback
shares and before deduction of underwriting discounts) is reasonably expected to exceed, in the
aggregate, $100 million.

               (c)    Demand Notices. All requests for Underwritten Shelf Takedowns shall be
made by giving written notice to the Company (the “Demand Shelf Takedown Notice”). Each
Demand Shelf Takedown Notice shall specify the approximate number of Registrable Securities
proposed to be sold in the Underwritten Shelf Takedown and the expected price range of such
Underwritten Shelf Takedown. Within five Business Days after receipt of any Demand Shelf
Takedown Notice, the Company shall give written notice of such requested Underwritten Shelf
Takedown to all other Holders of Registrable Securities (the “Company Shelf Takedown
Notice”) and, subject to the provisions of Section 6(d), shall include in such Underwritten Shelf
Takedown all Registrable Securities with respect to which the Company has received written
requests for inclusion therein within 10 Business Days after sending the Company Shelf
Takedown Notice.

                 (d)      Priority on Underwritten Shelf Takedowns. If the managing underwriters
for such Underwritten Shelf Takedown advise the Company that the number of Registrable
Securities and, if permitted hereunder, other securities requested to be included in such
Underwritten Shelf Takedown exceeds the number of Registrable Securities and other securities,
if any, which can be sold in an orderly manner in such offering within a price range acceptable to
the Holders of a majority of the Registrable Securities requested to be included in the
Underwritten Shelf Takedown, the Company shall include in such Underwritten Shelf Takedown
the number of Registrable Securities which can be so sold in the following order of priority: (i)
first, the First Priority Registrable Securities requested to be included in such Underwritten Shelf
Takedown by the 5% Requesting Holders, pro rata among such such 5% Requesting Holders
holding First Priority Registrable Securities on the basis of the total number of shares of
Common Stock owned by each such 5% Requesting Holder immediately prior to such offering;
(ii) second, all Registrable Securities of all other Holders requested to be included in such
Underwritten Shelf Takedown and all Second Priority Registrable Securities requested to be
included in such Underwritten Shelf Takedown by the 5% Requesting Holders, pro rata among
all such Holders on the basis of the number of shares of Common Stock owned by each such


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Holder after taking into account sales in the offering of the First Priority Registrable Securities;
and (iii) third, the securities the Company proposes to sell.

                (e)     Restrictions on Underwritten Shelf Takedowns. The Company shall not
be obligated to effect more than three Underwritten Shelf Takedowns during any period of 12
consecutive months and shall not be obligated to effect an Underwritten Shelf Takedown within
90 days after the pricing of a previous Underwritten Shelf Takedown.

                (f)    Selection of Underwriters. The Holders of a majority of the Registrable
Securities requested to be included in an Underwritten Shelf Takedown shall have the right to
select the investment banker(s) and manager(s) to administer the offering (which shall consist of
one or more reputable nationally recognized investment banks), subject to the Company’s prior
approval which shall not be unreasonably withheld, conditioned or delayed.

               (g)     Automatic Shelf Registration. Further, upon the Company becoming a
Well-Known Seasoned Issuer, (i) the Company shall give written notice to all of the Holders as
promptly as practicable but in no event later than ten days thereafter, and such notice shall
describe, in reasonable detail, the basis on which the Company has become a Well-Known
Seasoned Issuer, and (ii) the Company shall, as promptly as practicable, register, under an
Automatic Shelf Registration Statement, the sale of all of the Registrable Securities in
accordance with the terms of this Agreement. The Company shall use its commercially
reasonable efforts to file such Automatic Shelf Registration Statement as promptly as
practicable, but in no event later than 30 days after it becomes a Well-Known Seasoned Issuer,
and to cause such Automatic Shelf Registration Statement to remain effective thereafter until
there are no longer any Registrable Securities. The Company shall give written notice of filing
such Registration Statement to all of the Holders as promptly as practicable thereafter. At any
time after the filing of an Automatic Shelf Registration Statement by the Company, if the
Company is no longer a Well-Known Seasoned Issuer (the “Determination Date”), (A) within
ten days after such Determination Date, the Company shall give written notice thereof to all of
the Holders and (B) within 30 days after such Determination Date, the Company shall file a
Registration Statement on an appropriate form (or a post effective amendment converting the
Automatic Shelf Registration Statement to an appropriate form) covering all of the Registrable
Securities, and use commercially reasonable efforts to have such Registration Statement declared
effective as promptly as practicable (but in no event more than 30 days) after the date the
Automatic Shelf Registration Statement is no longer useable by the Holders to sell their
Registrable Securities.

               (h)     Additional Selling Stockholders and Additional Registrable Securities.

                       (i)    If the Company is not a Well-Known Seasoned Issuer, within 45
days after a written request by any Demand Holder or Second Demand Holder to register for
resale any additional Registrable Securities owned by such Demand Holders or Second Demand
Holder, the Company shall file a Registration Statement substantially similar to the Shelf then
effective, if any (each, a “Follow-On Shelf”), to register for resale such Registrable Securities.
The Company shall give written notice of the filing of the Follow-On Shelf at least 15 days prior
to filing the Follow-On Shelf to all Holders of Registrable Securities (the “Follow-On
Registration Notice”) and shall include in such Follow-On Shelf all Registrable Securities with


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respect to which the Company has received written requests for inclusion therein within ten days
after sending the Follow-On Registration Notice. Notwithstanding the foregoing, the Company
shall not be required to file a Follow-On Shelf (A) if the aggregate amount of Registrable
Securities requested to be registered on such Follow-On Shelf by all Holders that have not yet
been registered represent less than 5% of the then outstanding Common Stock or (B) if the
Company is not then eligible for use of Form S-3 for secondary offerings and the Company has
filed a Follow-On Shelf in the prior 180 days. The Company shall use commercially reasonable
efforts to cause such Follow-On Shelf to be declared effective as promptly as practicable and in
any event within 90 days of filing such Follow-On Shelf. Any Registrable Securities requested
to be registered pursuant to this Section 6(h)(i) that have not been registered on a Shelf or
pursuant to Section 7 at the time the Follow-On Shelf is filed shall be registered pursuant to such
Follow-On Shelf.

                       (ii)    If the Company is a Well-Known Seasoned Issuer, within ten
Business Days after a written request by one or more Holders of Registrable Securities to register
for resale any additional Registrable Securities owned by such Holders, the Company shall make
all necessary filings to include such Registrable Securities in the Automatic Shelf Registration
Statement filed pursuant to Section 6(g).

                       (iii) If a Form S-3 Shelf or Automatic Shelf Registration Statement is
effective, within five Business Days after written request therefor by a Holder of Registrable
Securities, the Company shall file a prospectus supplement or current report on Form 8-K to add
such Holder as a selling stockholder in such Form S-3 Shelf or Automatic Shelf Registration
Statement to the extent permitted under the rules and regulations promulgated by the
Commission.

              (i)     Other Registration Rights. Except as expressly contemplated by the
Restructuring Documents, the Company represents and warrants that it is not a party to, or
otherwise subject to, any other agreement granting registration rights to any other Person with
respect to any securities of the Company, including securities convertible, exercisable or
exchangeable into or for shares of any equity securities of the Company.

       7.      Piggyback Takedowns.

                (a)    Right to Piggyback. Whenever the Company proposes to register any of
its securities (whether or not following a request by a holder of Common Stock) (a “Piggyback
Registration”), or proposes to offer any Common Stock pursuant to a registration statement in an
Underwritten Offering of Common Stock under the Securities Act (whether or not following a
request by a holder of Common Stock) (together with a Piggyback Registration, a “Piggyback
Takedown”), the Company shall give prompt written notice to all Holders of Registrable
Securities of its intention to effect such Piggyback Takedown. In the case of a Piggyback
Takedown that is an Underwritten Offering under a Shelf Registration, such notice shall be given
not less than ten Business Days prior to the expected date of commencement of marketing efforts
for such Piggyback Takedown. In the case of a Piggyback Takedown that is an Underwritten
Offering under a Registration Statement that is not a Shelf Registration, such notice shall be
given not less than ten Business Days prior to the expected date of filing of such Registration
Statement. The Company shall, subject to the provisions of Section 7(b) and Section 7(c),


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include in such Piggyback Takedown, as applicable, all Registrable Securities with respect to
which the Company has received written requests for inclusion therein within five Business Days
after sending the Company’s notice. Notwithstanding anything to the contrary contained herein,
(i) the Company may determine not to proceed with any Piggyback Takedown upon written
notice to the Holders of Registrable Securities requesting to include their Registrable Securities
in such Piggyback Takedown, and (ii) any Holder of Registrable Securities may withdraw its
request for inclusion in such Piggyback Takedown by giving written notice to the Company;
provided, however, that the withdrawal shall be irrevocable and after making the withdrawal, a
Holder shall no longer have any right to include its Registrable Securities in that Piggyback
Takedown.

                (b)     Priority on Primary Piggyback Takedowns. If a Piggyback Takedown is
an underwritten primary registration initiated by the Company, and the managing underwriters
for a Piggyback Takedown advise the Company that the number of securities requested to be
included in such Piggyback Takedown exceeds the number which can be sold in an orderly
manner in such offering within a price range acceptable to the Company, the Company shall
include in such Piggyback Takedown the number which can be so sold in the following order of
priority: (i) first, the securities the Company proposes to sell; (ii) second, the Registrable
Securities requested to be included in such Piggyback Takedown (pro rata among the Holders of
such Registrable Securities on the basis of the number of shares of Common Stock owned by
each such Holder); and (iii) third, other securities requested to be included in such Piggyback
Takedown.

                (c)    Priority on Piggyback Takedowns Initiated by Non-Holders. If a
Piggyback Takedown is an underwritten secondary registration requested by and filed on behalf
of holders of the Company’s securities other than any Holder of Registrable Securities hereunder
(“Other Holders”) and the managing underwriters advise the Company that the number of
securities requested to be included in such Piggyback Takedown exceeds the number which can
be sold in an orderly manner in such offering within a price range acceptable to the Other
Holders, the Company shall include in such registration the number which can be so sold in the
following order of priority: (i) first, the Registrable Securities requested to be included in such
registration (pro rata among the holders of any such securities and Registrable Securities on the
basis of the number of securities and Registrable Securities owned by each such holder); (ii)
second, the securities requested to be included therein by the Other Holders requesting such
registration (pro rata among the holders of any such securities on the basis of the number of
securities owned by each such holder); and (iii) third, other securities requested to be included in
such registration.

                (d)  Selection of Underwriters. If any Piggyback Takedown is an underwritten
offering, the Company will have the sole right to select the investment banker(s) and manager(s)
for the offering.

       8.      Suspension Period.

               (a)     Suspension Period. Notwithstanding any provision of this Agreement to
the contrary, if the Board determines in good faith that the registration and distribution of
Registrable Securities (i) would reasonably be expected to materially impede, delay or interfere


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with, or require premature disclosure of, any material financing, offering, acquisition, merger,
corporate reorganization, segment reclassification or discontinuance of operations that is
required to be reflected in pro forma or restated financial statements that amends historical
financial statement of the Company, or other significant transaction or any negotiations,
discussions or pending proposals with respect thereto, involving the Company or any of its
subsidiaries, or (ii) would require disclosure of non-public material information, the disclosure of
which would reasonably be expected to materially and adversely affect the Company, the
Company shall be entitled to suspend, for a reasonable period of time (each, a “Suspension
Period”), the use of any Registration Statement or Prospectus and shall not be required to amend
or supplement the Registration Statement, any related Prospectus or any document incorporated
therein by reference. The Company shall use its good faith efforts to amend the Registration
Statement and/or Prospectus to correct such untrue statement or omission as soon as reasonably
practicable unless such amendment would reasonably be expected to have a material adverse
effect on any proposal or plan of the Company to effect a merger, acquisition, disposition,
financing, reorganization, recapitalization or similar transaction, in each case that is material to
the Company. The Company promptly will give written notice of any such Suspension Period to
each Person that has securities registered on a Registration Statement filed hereunder.

                (b)     Limitations on Suspension Periods. Notwithstanding anything contained
in this Section 8 to the contrary, the Company shall not be entitled to more than three Suspension
Periods in any 12-month period, and in no event shall the number of days included in all
Suspension Periods during any consecutive 12-month period exceed 120 days in the aggregate.

       9.      Holdback Agreements.

                (a)     Holders of Registrable Securities. In connection with any Underwritten
Offering or other underwritten public offering of equity securities by the Company, no Holder of
equity securities of the Company, or any securities convertible into or exchangeable or
exercisable for such securities, without prior written consent from the Company, (A) in the case
of an Initial Public Offering, during the seven days prior to and the 180-day period beginning on
the date of the pricing of the Initial Public Offering or (B) solely with respect to any Holder
participating in such Shelf Takedown or other underwritten public offering, during the seven
days prior to and the 90-day period beginning on the date of pricing of such Shelf Takedown or
other underwritten public offering (the “Lock-Up Period”), except as part of the Underwritten
Offering, and (i) unless the underwriters managing the Underwritten Offering or other
underwritten public equity offering by the Company otherwise agree by written consent and (ii)
only if such Lock-Up Period (or a longer period) is applicable on substantially similar terms to
the Company and the executive officers and directors of the Company; provided that nothing
herein will prevent any Holder that is a partnership, corporation, limited liability company or
other entity from making a distribution of Registrable Securities to the partners, stockholders,
members or owners of interests thereof or a transfer to an Affiliate that is otherwise in
compliance with the applicable securities laws, so long as such distributees or transferees agree
to be bound by the restrictions set forth in this Section 9(a). Each Holder agrees to execute a
lock-up agreement in favor of the Company’s underwriters to such effect (in each case on
substantially the same terms and conditions as all Holders) and, in any event, that the Company’s
underwriters in any relevant Underwritten Offering or other underwritten public offering shall be
third party beneficiaries of this Section 9(a).


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               (b)    The Company. In connection with any Underwritten Offering, the
Company shall not effect any public sale or distribution of its equity securities, or any securities
convertible into or exchangeable or exercisable for such securities (except pursuant to
registrations on Form S-8 or Form S-4 under the Securities Act), during the seven days prior to
and the 90-day period beginning on the date of pricing of such Underwritten Offering.

       10.     Company Undertakings.

              Whenever Registrable Securities are registered pursuant to this Agreement, the
Company shall use its commercially reasonable efforts to effect the registration and the sale of
such Registrable Securities as soon as reasonably practicable in accordance with the intended
method of disposition thereof, and pursuant thereto the Company shall as expeditiously as
possible:

               (a)   before filing a Registration Statement or Prospectus or any amendments or
supplements thereto, at the Company’s expense, furnish to the Holders whose securities are
covered by the Registration Statement copies of all such documents, other than documents that
are incorporated by reference, proposed to be filed and such other documents reasonably
requested by such Holders, which documents shall be subject to the review and comment of the
counsel to such Holders;

                (b)    notify each Holder of Registrable Securities of the effectiveness of each
Registration Statement and prepare and file with the Commission such amendments and
supplements to such Registration Statement and the Prospectus used in connection therewith as
may be necessary to keep such Registration Statement effective for a period ending on the date
on which all Registrable Securities have been sold under such Registration Statement or have
otherwise ceased to be Registrable Securities, and comply with the provisions of the Securities
Act with respect to the disposition of all securities covered by such Registration Statement
during such period in accordance with the intended methods of disposition by the sellers thereof
set forth in such Registration Statement;

                (c)      furnish to each seller of Registrable Securities, and the managing
underwriters, without charge, such number of copies of the applicable Registration Statement,
each amendment and supplement thereto, the Prospectus included in such Registration Statement
(including each preliminary Prospectus, final Prospectus, and any other Prospectus (including
any Prospectus filed under Rule 424, Rule 430A or Rule 430B promulgated under the Securities
Act and any “issuer free writing prospectus” as such term is defined under Rule 433
promulgated under the Securities Act)), all exhibits and other documents filed therewith and such
other documents as such seller or such managing underwriters may reasonably request including
in order to facilitate the disposition of the Registrable Securities owned by such seller, and upon
request, a copy of any and all transmittal letters or other correspondence to or received from, the
Commission or any other governmental authority relating to such offer;

               (d)    use its commercially reasonable efforts (i) to register or qualify such
Registrable Securities under such other securities or blue sky laws of such jurisdictions as any
seller reasonably requests, (ii) to keep such registration or qualification in effect for so long as
such Registration Statement remains in effect, and (iii) to do any and all other acts and things


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which may be reasonably necessary or advisable to enable such seller to consummate the
disposition in such jurisdictions of the Registrable Securities owned by such seller (provided that
the Company shall not be required to (A) qualify generally to do business in any jurisdiction
where it would not otherwise be required to qualify but for this subsection, (B) subject itself to
taxation in any such jurisdiction or (C) consent to general service of process in any such
jurisdiction);

                (e)     notify each seller of such Registrable Securities, Counsel to the Holders
and the managing underwriters: (i) at any time when a Prospectus relating to the applicable
Registration Statement is required to be delivered under the Securities Act, (A) upon discovery
that, or upon the happening of any event as a result of which, such Registration Statement, or the
Prospectus or Free Writing Prospectus relating to such Registration Statement, or any document
incorporated or deemed to be incorporated therein by reference contains an untrue statement of a
material fact or omits any fact necessary to make the statements in the Registration Statement or
the Prospectus or Free Writing Prospectus relating thereto not misleading or otherwise requires
the making of any changes in such Registration Statement, Prospectus, Free Writing Prospectus
or document, and, at the request of any such seller and subject to Section 8(a) hereof, the
Company shall promptly prepare a supplement or amendment to such Prospectus or Free Writing
Prospectus, furnish a reasonable number of copies of such supplement or amendment to each
seller of such Registrable Securities, Counsel to the Holders and the managing underwriters and
file such supplement or amendment with the Commission so that, as thereafter delivered to the
purchasers of such Registrable Securities, such Prospectus or Free Writing Prospectus as so
amended or supplemented shall not contain an untrue statement of a material fact or omit to state
any fact necessary to make the statements therein not misleading, (B) as soon as the Company
becomes aware of any comments or inquiries by the Commission or any requests by the
Commission or any Federal or state governmental authority for amendments or supplements to a
Registration Statement or related Prospectus or Free Writing Prospectus covering Registrable
Securities or for additional information relating thereto, (C) as soon as the Company becomes
aware of the issuance or threatened issuance by the Commission of any stop order suspending or
threatening to suspend the effectiveness of a Registration Statement covering the Registrable
Securities or (D) of the receipt by the Company of any notification with respect to the suspension
of the qualification or exemption from qualification of any Registrable Security for sale in any
jurisdiction, or the initiation or threatening of any proceeding for such purpose; and (ii) when
each Registration Statement or any amendment thereto has been filed with the Commission and
when each Registration Statement or the related Prospectus or Free Writing Prospectus or any
Prospectus supplement or any post effective amendment thereto has become effective.

                 (f)    use its commercially reasonable efforts to cause all such Registrable
Securities (i) if the Common Stock is then listed on a securities exchange or included for
quotation in a recognized trading market, to continue to be so listed or included, (ii) if the
Common Stock is not then listed on a national securities exchange or included for quotation in a
recognized trading market, to, as promptly as practicable (subject to the limitations set forth in
the Restructuring Documents), and in no event later than the effective date of the Form S-1 Shelf
filed pursuant to Section 6(a), be listed on NYSE or another national securities exchange, and
(iii) to be registered with or approved by such other governmental agencies or authorities as may
be necessary to enable the sellers thereof to consummate the disposition of the Registrable
Securities;


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              (g)   provide and cause to be maintained a transfer agent and registrar for all
such Registrable Securities from and after the effective date of the applicable Registration
Statement;

                 (h)    enter into and perform under such customary agreements (including
underwriting agreements in customary form, including customary representations and warranties
and provisions with respect to indemnification and contribution) and take all such other actions
as the Holders of a majority of the Registrable Securities included in such Underwritten Offering
or the underwriters, if any, reasonably request in order to expedite or facilitate the disposition of
such Registrable Securities (including effecting a stock split, a combination of shares, or other
recapitalization) and provide reasonable cooperation, including causing appropriate officers to
attend and participate in “road shows” and analyst or investor presentations and such other
selling or other informational meetings organized by the underwriters, if any; provided, that the
Company shall have no obligation to participate in “road shows” in connection with any
Underwritten Offering in which the total offering price of the Registrable Securities to be sold
therein is less than $100 million;

               (i)    for a reasonable period prior to the filing of any Registration Statement or
the commencement of marketing efforts for a Underwritten Offering, as applicable, pursuant to
this Agreement, make available for inspection and copying by any Holder of Registrable
Securities, Counsel to the Holders, any underwriter participating in any disposition pursuant to
such Registration Statement or Underwritten Offering, as applicable, and any other attorney,
accountant or other agent retained by any such Holder or underwriter, all financial and other
records and pertinent corporate documents of the Company, and cause the Company’s officers,
directors, employees and independent accountants to supply all information and participate in
any due diligence sessions reasonably requested by any such Holder, underwriter, attorney,
accountant or agent in connection with such Registration Statement or Underwritten Offering, as
applicable, provided that recipients of such financial and other records and pertinent corporate
documents agree in writing to keep the confidentiality thereof pursuant to a written agreement
reasonably acceptable to the Company and the applicable underwriter (which shall contain
customary exceptions thereto);

               (j)     permit any Holder of Registrable Securities, Counsel to the Holders, any
underwriter participating in any disposition pursuant to a Registration Statement, and any other
attorney, accountant or other agent retained by such Holder of Registrable Securities or
underwriter, to participate (including, but not limited to, reviewing, commenting on and
attending all meetings) in the preparation of such Registration Statement and any Prospectus
supplements relating to a Underwritten Offering, if applicable;

              (k)     in the event of the issuance or threatened issuance of any stop order
suspending the effectiveness of a Registration Statement, or of any order suspending or
preventing the use of any related Prospectus or suspending the qualification of any Common
Stock included in such Registration Statement for sale in any jurisdiction, the Company shall use
its commercially reasonable efforts promptly to (i) prevent the issuance of any such stop order,
and in the event of such issuance, to obtain the withdrawal of such order and (ii) obtain the
withdrawal of any order suspending or preventing the use of any related Prospectus or Free



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Writing Prospectus or suspending qualification of any Registrable Securities included in such
Registration Statement for sale in any jurisdiction at the earliest practicable date;

               (l)    in connection with any Underwritten Offering, obtain and furnish to each
such Holder of Registrable Securities including Registrable Securities in such Underwritten
Offering a signed counterpart of (i) a cold comfort letter from the Company’s independent public
accountants and (ii) a legal opinion of counsel to the Company addressed to the relevant
underwriters and/or such Holders of Registrable Securities, in each case in customary form and
covering such matters of the type customarily covered by such letters as the managing
underwriters and/or Holders of a majority of the Registrable Securities included in such
Underwritten Offering reasonably request;

                (m)    with respect to each Free Writing Prospectus or other materials to be
included in the Disclosure Package, ensure that no Registrable Securities be sold “by means of”
(as defined in Rule 159A(b) promulgated under the Securities Act) such Free Writing Prospectus
or other materials without the prior written consent of a majority of the Holders of the
Registrable Securities that are being sold pursuant to such Free Writing Prospectus, which Free
Writing Prospectuses or other materials shall be subject to the review of Counsel to the Holders;
provided, however, the Company shall not be responsible or liable for any breach by a Holder
that has not obtained the prior written consent of the Company pursuant to Section 22(n);

                (n)      provide a CUSIP number for the Registrable Securities prior to the
effective date of the first Registration Statement including Registrable Securities;

               (o)      promptly notify in writing the Holders, the sales or placement agent, if
any, therefor and the managing underwriters of the securities being sold, (i) when such
Registration Statement or related Prospectus or Free Writing Prospectus or any Prospectus
amendment or supplement or post effective amendment has been filed, and, with respect to any
such Registration Statement or any post effective amendment, when the same has become
effective and (ii) of any written comments by the Commission and by the blue sky or securities
commissioner or regulator of any state with respect thereto;

                (p)     (i) prepare and file with the Commission such amendments and
supplements to each Registration Statement as may be necessary to comply with the provisions
of the Securities Act, including post effective amendments to each Registration Statement as may
be necessary to keep such Registration Statement continuously effective for the applicable time
period required hereunder, and if applicable, file any Registration Statements pursuant to Rule
462(b) promulgated under the Securities Act; (ii) cause the related Prospectus to be
supplemented by any required Prospectus supplement, and as so supplemented to be filed
pursuant to Rule 424 (or any similar provisions then in force) promulgated under the Securities
Act; (iii) comply with the provisions of the Securities Act and the Exchange Act and any
applicable securities exchange or other recognized trading market with respect to the disposition
of all securities covered by such Registration Statement during such period in accordance with
the intended methods of disposition by the sellers thereof set forth in such Registration Statement
as so amended or in such Prospectus as so supplemented; and (iv) provide additional information
related to each Registration Statement as requested by, and obtain any required approval
necessary from, the Commission or any Federal or state governmental authority;


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               (q)    cooperate with each Holder of Registrable Securities and each underwriter
participating in the disposition of such Registrable Securities and underwriters’ counsel in
connection with any filings required to be made with FINRA;

              (r)    within the deadlines specified by the Securities Act, make all required
filing fee payments in respect of any Registration Statement or Prospectus used under this
Agreement (and any offering covered thereby);

               (s)    if requested by any participating Holder of Registrable Securities or the
managing underwriters, promptly include in a Prospectus supplement or amendment such
information as the Holder or managing underwriters may reasonably request, including in order
to permit the intended method of distribution of such securities, and make all required filings of
such Prospectus supplement or such amendment as soon as reasonably practicable after the
Company has received such request;

                (t)    in the case of certificated Registrable Securities, cooperate with the
participating Holders of Registrable Securities and the managing underwriters to facilitate the
timely preparation and delivery of certificates (not bearing any legends) representing Registrable
Securities to be sold after receiving written representations from each participating Holder that
the Registrable Securities represented by the certificates so delivered by such Holder will be
transferred in accordance with the Registration Statement, and enable such Registrable Securities
to be in such denominations and registered in such names as the Holders or managing
underwriters may reasonably request at least two Business Days prior to any sale of Registrable
Securities; and

                (u)      use its commercially reasonable efforts to take all other actions necessary
to effect the registration and sale of the Registrable Securities contemplated hereby.

       11.     Registration Expenses.

               All Registration Expenses shall be borne by the Company. For the avoidance of
doubt, subject to the proviso in Section 2(c) of this Agreement, all Registration Expenses in
connection with any registration initiated as a Demand Registration shall be borne by the
Company regardless of whether or not such registration has become effective and whether or not
such registration has counted as one of the permitted Long-Form Registrations pursuant to
Section 2(c) of this Agreement. All Selling Expenses relating to Registrable Securities registered
shall be borne by the selling Holders of such Registrable Securities pro rata on the basis of the
number of Registrable Securities sold; provided, however, that the Company and each Holder
agrees that if the Holder complies with the provisions of Section 3 such Holder shall not be
required to pay any underwriting spread to any underwriter in the Initial Public Offering
implemented pursuant to the IPO Demand Registration or IPO Drag-Along Sale and that the
Company will pay such underwriters a commission in lieu of such underwriting spread in
connection with the Initial Public Offering implemented pursuant to the IPO Demand
Registration or IPO Drag-Along Sale; provided further, that the Company and each Holder
agrees that if such Holder participates in the first underwritten Demand Registration or
Underwritten Shelf Takedown after the Initial Public Offering (or, in the event that the Initial
Public Offering does not occur pursuant to an IPO Demand Registration or IPO Drag Along


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Sale, the first two underwritten Demand Registrations or Underwritten Shelf Takedowns), such
Holder shall not be required to pay any underwriting spread to any underwriter in such Demand
Registration or Underwritten Shelf Takedown (or Demand Registrations or Underwritten Shelf
Takedowns) and that the Company will pay such underwriters a commission in lieu of such
underwriting spread in connection with such Demand Registration or Underwritten Shelf
Takedown (or Demand Registrations or Underwritten Shelf Takedowns).

       12.      Hedging Transactions.

                 (a)    The Company agrees that, in connection with any proposed Hedging
Transaction, if, in the reasonable judgment of Counsel to the Holders, it is necessary or desirable
to have a Registration Statement under the Securities Act cover such Hedging Transaction or
sales or transfers (whether short or long) of Registrable Securities in connection therewith, then
the Company shall use its commercially reasonable efforts to take such actions (which may
include the filing of a Prospectus supplement to include additional or changed information that is
material or is otherwise required to be disclosed, including a description of such Hedging
Transaction, the name of the Hedging Counterparty, identification of the Hedging Counterparty
or its Affiliates as underwriters or potential underwriters, if applicable, or any change to the plan
of distribution, but shall not include the filing of a post-effective amendment to a Registration
Statement) as may reasonably be required to have such Hedging Transaction or sales or transfers
of Registrable Securities in connection therewith covered by a Registration Statement under the
Securities Act in a manner consistent with the rights and obligations of the Company hereunder.

                (b)   All Registration Statements in which Holders may include Registrable
Securities under this Agreement shall be subject to the provisions of this Section 12. The
Hedging Counterparty shall be selected by the Holders of a majority of the Registrable Securities
subject to the Hedging Transaction that is proposed to be effected.

                (c)     If in connection with a Hedging Transaction, a Hedging Counterparty or
any Affiliate thereof is (or may be considered) an underwriter or selling stockholder, then it shall
be required to provide customary indemnities to the Company regarding the plan of distribution
and like matters.

               (d)     The Company further agrees to include, under the caption “Plan of
Distribution” (or the equivalent caption), in each Registration Statement, and any related
Prospectus (to the extent such inclusion is permitted under applicable Commission regulations
and is consistent with comments received from the Commission during any Commission review
of the Registration Statement), language substantially in the form of Schedule I hereto and to
include in each Prospectus supplement filed in connection with any proposed Hedging
Transaction language mutually agreed upon by the Company, the relevant Holders and the
Hedging Counterparty describing such Hedging Transaction.

                (e)     In connection with a Hedging Transaction, each Hedging Counterparty
shall be treated in the same manner as a managing underwriter for purposes of Section 10 of this
Agreement.




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       13.     Indemnification; Contribution.

                (a)     Indemnification by the Company. The Company agrees to indemnify and
hold harmless each Holder of Registrable Securities, the Affiliates, directors, officers,
employees, members, partners, managers and agents of each such Holder and each Person who
controls any such Holder within the meaning of either the Securities Act or the Exchange Act, to
the fullest extent permitted by applicable law, from and against any and all losses, claims,
damages, liabilities and expenses to which they or any of them may become subject insofar as
such losses, claims, damages, liabilities and expenses (or actions in respect thereof) arise out of
or are based upon (i) any untrue statement or alleged untrue statement of a material fact
contained in a Registration Statement as originally filed or in any amendment thereof, or the
Disclosure Package, or any preliminary, final or summary Prospectus or Free Writing Prospectus
included in any such Registration Statement, or in any amendment thereof or supplement thereto,
or arise out of or are based upon the omission or alleged omission to state therein a material fact
required to be stated therein or necessary to make the statements therein not misleading or (ii)
any violation or alleged violation by the Company of the Securities Act, the Exchange Act, any
other federal law, any state or foreign securities law, or any rule or regulation promulgated under
of the foregoing laws, relating to the offer or sale of the Registrable Securities, and in any such
case, the Company agrees to reimburse each such indemnified party, as incurred, for any legal or
other expenses reasonably incurred by them in connection with investigating, preparing or
defending any such loss, claim, damage, liability, action or investigation (whether or not the
indemnified party is a party to any proceeding); provided, however, that the Company will not be
liable in any case to the extent that any such loss, claim, damage, liability or expense arises out
of or is based upon any such untrue statement or alleged untrue statement or omission or alleged
omission made therein in reliance upon and in conformity with written information relating to
such Holder furnished to the Company by or on behalf of any such Holder specifically for
inclusion therein, including any notice and questionnaire. This indemnity agreement will be in
addition to any liability which the Company may otherwise have.

               (b)     Indemnification by the Holders. Each Holder severally (and not jointly)
agrees to indemnify and hold harmless the Company and each of its Affiliates, directors,
employees, members, managers and agents and each Person who controls the Company within
the meaning of either the Securities Act or the Exchange Act, to the fullest extent permitted by
applicable law, from and against any and all losses, claims, damages or liabilities to which they
or any of them may become subject insofar as such losses, claims, damages or liabilities arise out
of or are based upon any untrue statement or alleged untrue statement of a material fact
contained in a Registration Statement as originally filed or in any amendment thereof, or in the
Disclosure Package or any Holder Free Writing Prospectus, preliminary, final or summary
Prospectus included in any such Registration Statement, or in any amendment thereof or
supplement thereto, or arise out of or are based upon the omission or alleged omission to state
therein a material fact required to be stated therein or necessary to make the statements therein
not misleading, to the extent, but only to the extent, that any such untrue statement or alleged
untrue statement or omission or alleged omission is contained in any written information relating
to such Holder furnished to the Company by or on behalf of such Holder specifically for
inclusion therein; provided, however, that the total amount to be indemnified by such Holder
pursuant to this Section 13(b) shall be limited to the net proceeds (after deducting underwriters’
discounts and commissions) received by such Holder in the offering to which such Registration


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Statement or Prospectus relates; provided, further, that a Holder shall not be liable in any case to
the extent that prior to the filing of any such Registration Statement or Disclosure Package, or
any amendment thereof or supplement thereto, each Holder has furnished in writing to the
Company, information expressly for use in, and within a reasonable period of time prior to the
effectiveness, filing or use of such Registration Statement or Disclosure Package, or any
amendment thereof or supplement thereto which corrected or made not misleading information
previously provided to the Company. This indemnity agreement will be in addition to any
liability which any such Holder may otherwise have.

                (c)     Conduct of Indemnification Proceedings. Promptly after receipt by an
indemnified party under this Section 13 of notice of the commencement of any action, such
indemnified party will, if a claim in respect thereof is to be made against the indemnifying party
under this Section 13, notify the indemnifying party in writing of the commencement thereof; but
the failure so to notify the indemnifying party (i) will not relieve it from liability under
Section 13(a) or Section 13(b) above unless and to the extent such action and such failure results
in material prejudice to the indemnifying party and forfeiture by the indemnifying party of
substantial rights and defenses; and (ii) will not, in any event, relieve the indemnifying party
from any obligations to any indemnified party other than the indemnification obligation provided
in Section 13(a) or Section 13(b) above. The indemnifying party shall be entitled to participate
therein and, to the extent that it shall wish, jointly with any other indemnifying party similarly
notified, to assume the defense thereof, with counsel satisfactory to such indemnified party (who
shall not, except with the consent of the indemnified party, be counsel to the indemnifying
party), and, except as provided in the next sentence, after notice from the indemnifying party to
such indemnified party of its election to so assume the defense thereof, the indemnifying party
shall not be liable to such indemnified party for any legal expenses of other counsel or any other
expenses subsequently incurred by such indemnified party in connection with the defense thereof
other than reasonable costs of investigation. Notwithstanding the indemnifying party’s rights in
the prior sentence, the indemnified party shall have the right to employ one firm of separate
counsel (and one local counsel), and the indemnifying party shall bear the reasonable fees, costs
and expenses of such separate counsel if:

                      (i)    the use of counsel chosen by the indemnifying party to represent
the indemnified party would present such counsel with an actual or potential conflict of interest;

                     (ii)    the actual or potential defendants in, or targets of, any such action
include both the indemnified party and the indemnifying party and the indemnified party shall
have reasonably concluded that there may be legal defenses available to it and/or other
indemnified parties which are different from or additional to those available to the indemnifying
party;

                       (iii) the indemnifying party shall not have employed counsel
satisfactory to the indemnified party to represent the indemnified party within 10 days after
notice of the institution of such action or such earlier time as may be necessary to pursue
appropriate defenses, rights, and remedies; or

                     (iv)    the indemnifying party shall authorize the indemnified party to
employ separate counsel at the expense of the indemnifying party.


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No indemnifying party shall, in connection with any one action or separate but substantially
similar or related actions in the same jurisdiction arising out of the same general circumstances
or allegations, be liable for the fees and expenses of more than one separate firm of attorneys (in
addition to any local counsel) for all indemnified parties. An indemnifying party shall not be
liable under this Section 13 to any indemnified party regarding any settlement or compromise or
consent to the entry of any judgment with respect to any pending or threatened claim, action, suit
or proceeding in respect of which indemnification or contribution may be sought hereunder
(whether or not the indemnified parties are actual or potential parties to such claim or action)
unless such settlement, compromise or consent is consented to by such indemnifying party,
which consent shall not be unreasonably withheld. No indemnifying party, in the defense of any
such claim or litigation, shall, except with the consent of each indemnified party, consent to entry
of any judgment or enter into any settlement or compromise that (x) does not include as an
unconditional term thereof the giving by the claimant or plaintiff therein, to such indemnified
party, of a full and final release from all liability in respect to such claim or litigation or (y)
includes a statement as to, or an admission of, fault, culpability or a failure to act by or on behalf
of such indemnified party.

               (d)     Contribution.

                         (i)    In the event that the indemnity provided in Section 13(a) or
Section 13(b) above is unavailable to or insufficient to hold harmless an indemnified party for
any reason, then each applicable indemnifying party agrees to contribute to the aggregate losses,
claims, damages and liabilities (including legal or other expenses reasonably incurred in
connection with investigating, preparing or defending same) (collectively, “Losses”) to which
such indemnifying party may be subject in such proportion as is appropriate to reflect the relative
fault of the indemnifying party on the one hand and the indemnified party on the other in
connection with the statements or omissions which resulted in such losses, claims, damages or
liabilities (or actions in respect thereof) from the offering of the Common Stock. If, however,
the allocation provided by the immediately preceding sentence is not permitted by applicable
law, then each indemnifying party shall contribute to such amount paid or payable by such
indemnified party in such proportion as is appropriate to reflect not only such relative fault but
also the relative benefits received by the indemnifying party on the one hand and the indemnified
party on the other, as well as any other relevant equitable considerations. The relative fault shall
be determined by reference to, among other things, whether the untrue or alleged untrue
statement of a material fact or the omission or alleged omission to state a material fact relates to
information supplied by the indemnifying party on the one hand or the indemnified party on the
other and the parties’ relative intent, knowledge, access to information and opportunity to correct
or prevent such statement or omission.

                       (ii)   The parties agree that it would not be just and equitable if
contribution pursuant to this Section 13(d) were determined by pro rata allocation (even if the
Holders of Registrable Securities or any agents or underwriters or all of them were treated as one
entity for such purpose) or by any other method of allocation which does not take account of the
equitable considerations referred to above in this Section 13(d). The amount paid or payable by
an indemnified party as a result of the losses, claims, damages or liabilities (or actions in respect
thereof) referred to above in this Section 13(d) shall be deemed to include any legal or other



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expenses reasonably incurred by such indemnified party in connection with investigating,
preparing or defending any such action or claim.

                       (iii) Notwithstanding the provisions of this Section 13(d), no Person
guilty of fraudulent misrepresentation (within the meaning of Section 11(f) of the Securities Act)
shall be entitled to contribution from any Person who was not guilty of such fraudulent
misrepresentation.

                       (iv)   For purposes of this Section 13, each Person who controls any
Holder of Registrable Securities, agent or underwriter within the meaning of either the Securities
Act or the Exchange Act and each Affiliate, director, officer, employee, member, partner,
manager and agent of any such Holder, agent or underwriter shall have the same rights to
contribution as such Holder, agent or underwriter, and each Person who controls the Company
within the meaning of either the Securities Act or the Exchange Act and each officer and director
of the Company shall have the same rights to contribution as the Company, subject in each case
to the applicable terms and conditions of this Section 13(d).

               (e)     The provisions of this Section 13 will remain in full force and effect,
regardless of any investigation made by or on behalf of any Holder of Registrable Securities or
the Company or any of the Affiliates, directors, officers, employees, members, partners,
managers, agents or controlling Persons referred to in this Section 13 hereof, and will survive the
transfer of Registrable Securities.

                (f)     To the extent any indemnification by an indemnifying party is prohibited
or limited by law, the indemnifying party agrees to make the maximum contribution with respect
to any amounts for which it would otherwise be liable under Section 13 to the fullest extent
permitted by law; provided, however, that: (i) no Person involved in the sale of Registrable
Securities which Person is guilty of fraudulent misrepresentation (within the meaning of Section
11(f) of the Securities Act) in connection with such sale shall be entitled to contribution from any
Person involved in such sale of Registrable Securities who was not guilty of fraudulent
misrepresentation; and (ii) contribution by any seller of Registrable Securities shall be limited in
amount to the net amount of proceeds received by such seller from the sale of such Registrable
Securities.

       14.     Participation in Underwritten Offering/Sale of Registrable Securities.

               (a)    No Person may participate in any Underwritten Offering hereunder unless
such Person (i) agrees to enter into an underwriting agreement in customary form and provide
the representations and warranties, and indemnities to the underwriters and the Company and to
sell such Person’s securities on the basis provided in any such underwriting agreement and (ii)
completes and executes all questionnaires, powers of attorney, custody agreements, indemnities,
underwriting agreements and other documents reasonably required under the terms of such
underwriting arrangements; provided that no Holder of Registrable Securities included in any
Underwritten Offering shall be required to make any representations or warranties to the
Company or the underwriters (other than representations and warranties regarding (A) such
Holder’s ownership of its Registrable Securities to be sold or transferred free and clear of liens,
(B) such Holder’s power and authority to effect, and lack of conflicts in effecting, such transfer


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and (C) such matters pertaining to compliance with securities laws as may be reasonably
requested) or to undertake any indemnification obligations to the Company, except as otherwise
provided in Section 13(b) hereof, or to the underwriters, except to the extent of the
indemnification being given to the Company and its controlling persons in Section 13(b) hereof.

               (b)    Each Person that has securities registered on a Registration Statement filed
hereunder agrees that, upon receipt of any notice contemplated in Section 8(a), such Person will
forthwith discontinue the disposition of its Registrable Securities pursuant to the applicable
Registration Statement.

       15.     Rule 144.

                With a view to making available to the Holders of Registrable Securities the
benefits of Rule 144 promulgated under the Securities Act, the Company covenants that it will
(a) make available information necessary to comply with Rule 144, if available with respect to
resales of the Registrable Securities under the Securities Act, at all times, and (b) take such
further action as such Holder may reasonably request, all to the extent required from time to time
to enable such Holder to sell Registrable Securities without registration under the Securities Act
within the limitation of the exemptions provided by Rule 144 promulgated under the Securities
Act (if available with respect to resales of the Registrable Securities), as such rule may be
amended from time to time. Upon the reasonable request of any Holder of Registrable
Securities, the Company will deliver to such Holder a written statement as to whether it has
complied with such information requirements, and, if not, the specific reasons for non-
compliance.

       16.     Private Placement.

               Except for Section 9(a), the Company agrees that nothing in this Agreement shall
prohibit the Holders, at any time and from time to time, from selling or otherwise transferring
Registrable Securities pursuant to a private placement or other transaction which is not registered
pursuant to the Securities Act. To the extent requested by a Holder, the Company shall take all
reasonable steps to assist and cooperate with such Holder to facilitate such sale or transfer,
including providing reasonable due diligence access to potential purchasers.

       17.     Reporting.

                  (a)    The Company will use its commercially reasonable efforts to become a
“voluntary filer” of periodic reports under the Exchange Act by March 31, 2013 without
registering the Common Stock on a Form 10 registration statement; provided, that if the
Company has a registration statement on file with the Commission and it is diligently pursuing
the effectiveness of such registration statement, then the obligation set forth in the first sentence
of this Section 17(a) shall be suspended for 90 days. If the Company does not become a
“voluntary filer” by March 31, 2013, the Company will post on its website, beginning April 1,
2013 (and including an Annual Report on Form 10-K for the year ended December 31, 2012),
the same information (including all periodic reports) and at such times, that it would be required
to file if it was subject to Section 15(d) of the Exchange Act.




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              (b)     Notwithstanding the foregoing, as of the Effective Date, the Company
shall make publicly available on a website such information, and at such times, as the Company
would be required to file pursuant to the reporting requirements of the Exchange Act, including:

                        (i)    Within 45 days after the end of each of the first three fiscal
quarters of each fiscal year, quarterly management reports and unaudited financial statements, all
in reasonable detail, together with a “Management’s Discussion and Analysis of Financial
Condition and Results of Operations” that describes the financial condition and results of
operations of Holdings and its consolidated subsidiaries similar to Form 10-Q information;

                      (ii)    Within 90 days after the end of each fiscal year, audited GAAP
financial statements all in reasonable detail, together with a “Management’s Discussion and
Analysis of Financial Condition and Results of Operations” that describes the financial condition
and results of operations of Holdings and its consolidated subsidiaries similar to Form 10-K
information;

                     (iii) within five Business Days after the occurrence of an event that
would require information about such event to be provided to the Commission on Form 8-K , a
current report with such information required to be contained in such a filing with the
Commission on Form 8-K; and

                         (iv)   unless otherwise required to be provided to Holders, such reports
(i) shall not be required to comply with Section 302 or Section 404 of the Sarbanes-Oxley Act of
2002, or related Items 307 and 308 of Regulation S-K promulgated by the SEC, or Item 10(e) of
Regulation S-K (with respect to any non-GAAP financial measures contained therein), in each
case, and (ii) will not be required to comply with Item 405 of Regulation S-K promulgated by the
SEC.

               (c)    To the extent not satisfied by the foregoing, the Company agrees that it
will furnish to Holders and to securities analysts and prospective investors, upon their request,
the information required to be delivered pursuant to Rule 144A(d)(4) under the Securities Act.

        18.     Street Name Trading. Unless an Initial Public Offering has been consummated,
on October 1, 2013, the Company will (i) file a Form 10 registration statement to register the
Common Stock under the Exchange Act, (ii) timely apply to list the Common Stock on the New
York Stock Exchange or Nasdaq Market and (iii) timely apply for the Common Stock to be made
DTC eligible (collectively, the “34 Act Registration Filings”), such ‘34 Act Registration Filings
to be effective in each instance, on but not before December 2, 2013; it being understood that at
any time prior to such December 2, 2013 date (unless the Company has consummated an Initial
Public Offering prior to such date), holders of a majority of the outstanding shares of Common
Stock (the “Majority Holders”) may direct the Company to withdraw or delay the effectiveness
of all such filings and applications relating to the ‘34 Act Registration Filings and have the
Common Stock remain book-entry only. If the Majority Holders direct the Company to
withdraw or delay the ‘34 Act Registration Filings, then such Majority Holders shall also
determine in such direction a new date for proceeding with the ‘34 Act Registration Filings, at
which time the Company will proceed with and diligently pursue the effectiveness of the ‘34 Act




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Registration Filings unless prior to such new date the Majority Holders determine to further
extend the date of filing the ‘34 Act Registration Filings.

       19.     Confidentiality.

               (a)    At any time prior to the earlier of: (i) the effectiveness of the ’34 Act
Registration Filings or (ii) an Initial Public Offering, at the request of a Holder, the Company
will provide Confidential Information to any Holder who has entered into a confidentiality
agreement with the Company (a “Transfer Confidentiality Agreement”) substantially in the
form attached as Exhibit A and each such Holder shall be permitted to disclose and discuss any
Confidential Information with any prospective transferee of Common Stock, other securities of
the Company, and loans or debt obligations of the Company or any of its direct or indirect
subsidiaries (“Prospective Transferee”), the professional advisors (including, but not limited to,
attorneys, accountants, consultants and financial advisors) for such Prospective Transferee or any
of its members (such Persons are referred to as “Prospective Transferee Representatives”)
provided that (i) neither such Prospective Transferee nor any Prospective Transferee
Representative is a competitor of the Company or any of its subsidiaries, as determined in good
faith by the Company, and (ii) such Prospective Transferee and each Prospective Transferee
Representative has entered into a Transfer Confidentiality Agreement.

                (b)     The term “Confidential Information” includes (i) all confidential or
proprietary information furnished by the Company or any of its representatives after the date
hereof, whether oral or written or by visual inspection, and regardless of the manner in which it
is furnished and (ii) those portions of analyses, compilations, forecasts, studies, interpretations or
other documents prepared by such Holder and its Affiliates and its and their directors, officers,
employees, agents, professional advisors (including, but not limited to, attorneys, accountants,
consultants and financial advisors), investors, prospective investors and financing sources who
(A) need to know the Confidential Information, (B) have been informed of the confidential
nature of the Confidential Information and (C) are bound by an obligation of confidentiality to
such Holder sufficient to ensure compliance with the terms of this Agreement (such Persons are
referred to as the Holder’s “Representatives”), that reflect or are based upon, in whole or part,
the information furnished to such Holder or its Representatives. The term “Confidential
Information” does not include any information that (A) at the time of disclosure or thereafter is
available to or known by the public (other than as a result of its disclosure by such Holder or its
Representatives in breach of this Agreement), (B) was available to such Holder or any of its
Representatives on a non-confidential basis before disclosure by the Company, (C) becomes
available to such Holder or any of its actual Representatives on a non-confidential basis from a
Person who, to such Holder’s or its Representatives’ knowledge, is not known by such Holder or
its Representatives to be bound by a confidentiality agreement with the Company and is not
otherwise prohibited from transmitting the information to any Holder or such Holder’s
Representatives or (iv) was independently developed by such Holder or its Representatives
without use of the Confidential Information. The Confidential Information shall remain the
property of the Company. Except as expressly set forth in this Section 19, no rights to use,
license or otherwise exploit the Confidential Information are granted to any Holder or its
Representatives, by implication or otherwise, and no Holder shall replicate, decompile or reverse
engineer any Confidential Information (except as set forth herein) or make any attempts to do so.



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No Holder or its Representatives will acquire any rights with respect to the Confidential
Information, all of which rights shall remain exclusively with the Company.

       20.     Transfer of Registration Rights.

                The rights of a Holder hereunder shall be transferred, assigned, or otherwise
conveyed on a pro rata basis in connection with any transfer, assignment, or other conveyance of
Registrable Securities to any transferee or assignee only if all of the following conditions are
satisfied with respect to any transfer, assignment or conveyance of rights hereunder: (a) such
transfer or assignment is effected in accordance with applicable securities laws; (b) prior to the
Registrable Securities becoming DTC eligible, such transferee or assignee agrees in writing to
become subject to the terms of this Agreement by executing a joinder agreement; and (c) the
Company is given written notice by such Holder of such transfer or assignment, stating the name
and address of the transferee or assignee, identifying the Registrable Securities with respect to
which such rights are being transferred or assigned. Upon the transfer of rights in accordance
with this Section 20, the transferee shall be a Holder for all purposes of this Agreement. Any
transfer, assignment or other conveyance of the rights of a Holder in breach of this Agreement
shall be void and of no effect.

       21.     Amendment, Modification and Waivers; Further Assurances.

                (a)    Amendment. This Agreement may be not amended without the consent of
the Company and the written consent of holders of at least 66 2/3% of the issued and outstanding
Common Stock; provided that no such amendment, action or omission that adversely affects,
alters or changes the interests of any Holder shall be effective against such Holder without the
prior written consent of such Holder.

               (b)     Effect of Waiver. No waiver of any terms or conditions of this Agreement
shall operate as a waiver of any other breach of such terms and conditions or any other term or
condition, nor shall any failure to enforce any provision hereof operate as a waiver of such
provision or of any other provision hereof. No written waiver hereunder, unless it by its own
terms explicitly provides to the contrary, shall be construed to effect a continuing waiver of the
provisions being waived and no such waiver in any instance shall constitute a waiver in any other
instance or for any other purpose or impair the right of the party against whom such waiver is
claimed in all other instances or for all other purposes to require full compliance with such
provision. The failure of any party to enforce any provision of this Agreement shall not be
construed as a waiver of such provision and shall not affect the right of such party thereafter to
enforce each provision of this Agreement in accordance with its terms.

               (c)     Further Assurances. Each of the parties hereto shall execute all such
further instruments and documents and take all such further action as any other party hereto may
reasonably require in order to effectuate the terms and purposes of this Agreement.

       22.     Miscellaneous.

               (a)   Adjustments. If, and as often as, there are any changes in the Common
Stock by way of stock split, stock dividend, combination or reclassification, or through merger,
consolidation, reorganization, recapitalization, conversion or sale, or by any other means,


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appropriate adjustment shall be made in the provisions of this Agreement, as may be required, so
that the rights, privileges, duties and obligations hereunder shall continue with respect to the
Common Stock as so changed.

               (b)     Successors and Assigns. All covenants and agreements in this Agreement
by or on behalf of any of the parties hereto shall bind and inure to the benefit of the respective
successors and assigns of the parties hereto (including any trustee in bankruptcy) whether so
expressed or not. In addition, whether or not any express assignment has been made, the
provisions of this Agreement which are for the benefit of purchasers or Holders of Registrable
Securities are also for the benefit of, and enforceable by, any subsequent Holder of Registrable
Securities. No assignment or delegation of this Agreement by the Company, or any of the
Company’s rights, interests or obligations hereunder, shall be effective against any Holder
without the prior written consent of such Holder.

                (c)     Remedies; Specific Performance. Any Person having rights under any
provision of this Agreement shall be entitled to enforce such rights specifically, to recover
damages caused by reason of any breach of any provision of this Agreement and to exercise all
other rights existing in their favor. The parties hereto agree and acknowledge that money
damages would not be an adequate remedy for any breach of the provisions of this Agreement
and that any party may in its sole discretion apply to any court of law or equity of competent
jurisdiction for specific performance and/or injunctive relief (without posting any bond or other
security) in order to enforce or prevent violation of the provisions of this Agreement and shall
not be required to prove irreparable injury to such party or that such party does not have an
adequate remedy at law with respect to any breach of this Agreement (each of which elements
the parties admit). The parties hereto further agree and acknowledge that each and every
obligation applicable to it contained in this Agreement shall be specifically enforceable against it
and hereby waives and agrees not to assert any defenses against an action for specific
performance of their respective obligations hereunder. All rights and remedies existing under
this Agreement are cumulative to, and not exclusive of, any rights or remedies available under
this Agreement or otherwise.

                (d)    Notices. All notices, demands or other communications to be given or
delivered under or by reason of the provisions of this Agreement shall be in writing and shall be
deemed to have been given when (i) delivered personally to the recipient, (ii) telecopied or sent
by facsimile to the recipient, or (iii) one Business Day after being sent to the recipient by
reputable overnight courier service (charges prepaid). Such notices, demands and other
communications shall be sent to the Company at the address set forth below and to any Holder of
Registrable Securities at the address set forth on the signature page hereto (with copies sent at the
address set forth below), or at such address or to the attention of such other Person as the
recipient party has specified by prior written notice to the sending party.




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The Company’s address is:

       HMH Holdings (Delaware), Inc.
       c/o Houghton Mifflin Harcourt Publishing Company
       222 Berkeley Street
       Boston, MA 02116-3764
       Attention: Eric Shuman, Chief Financial Officer
       Facsimile: 800-465-6567


       with copies to:

       Paul, Weiss, Rifkind, Wharton & Garrison LLP
       1285 Avenue of the Americas
       New York, NY 10019-6064
       Attention: John Kennedy, Esq.
                   David Huntington, Esq.
       Facsimile: (212) 757-3390


       Copies of notices to the Holders shall be sent to each Holder at the address of such
       Holder on the records of the Company:

       With copies to:

       Akin Gump Strauss Hauer & Feld LLP
       One Bryant Park
       New York, NY 10036
       Attention: Phil Dublin
       Facsimile: (212) 872-1002

       If any time period for giving notice or taking action hereunder expires on a day which is a
Saturday, Sunday or legal holiday in the State of New York or the jurisdiction in which the
Company’s principal office is located, the time period shall automatically be extended to the
Business Day immediately following such Saturday, Sunday or legal holiday.

               (e)    No Inconsistent Agreements. The Company shall not hereafter enter into
any agreement with respect to its securities which is inconsistent with or violates the rights
granted to the Holders of Registrable Securities in this Agreement.

               (f)       Company Obligations.

                    (i)     Prior to an Initial Public Offering, if the Company issues any
shares of Common Stock, the purchasers of such Common Stock shall be required to agree in
writing to become subject to the terms of this Agreement by executing a joinder or similar
document.




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                       (ii)   If, prior to an Initial Public Offering, any Person acquires 20% or
more of the outstanding Common Stock of the Company, the Company shall enter into a director
nomination agreement with such Person substantially in the form attached as Exhibit B, entitling
such Person to the right to nominate one person to the Board.

                    (iii) On or about the Effective Date, the Company will use
commercially reasonable efforts to (A) obtain a market maker to have the Common Stock quoted
on the OTCQX market and (B) maintain a market maker to have the Common Stock quoted on
the OTCQX market so long as the Common Stock remains in book-entry only form and the
Company has not otherwise listed the Common Stock on a national securities exchange or
market.

                (g)    Adjustments Affecting Registrable Securities. The Company shall not
take any action, or permit any change to occur, with respect to its securities which would
materially and adversely affect the ability of the Holders of Registrable Securities to include such
Registrable Securities in a registration undertaken pursuant to this Agreement or which would
materially and adversely affect the marketability of such Registrable Securities in any such
registration (including effecting a stock split or a combination of shares).

               (h)   Counterparts. This Agreement may be executed in one or more
counterparts, and may be delivered by means of facsimile or electronic transmission in portable
document format, each of which shall be deemed to be an original and shall be binding upon the
party who executed the same, but all of such counterparts shall constitute the same agreement.

               (i)      Descriptive Headings; Interpretation; No Strict Construction.           The
descriptive headings of this Agreement are inserted for convenience only and do not constitute a
substantive part of this Agreement. Whenever required by the context, any pronoun used in this
Agreement shall include the corresponding masculine, feminine or neuter forms, and the singular
forms of nouns, pronouns, and verbs shall include the plural and vice versa. Reference to any
agreement, document, or instrument means such agreement, document, or instrument as
amended or otherwise modified from time to time in accordance with the terms thereof, and, if
applicable, hereof. The words “include,” “includes” or “including” in this Agreement shall be
deemed to be followed by “without limitation.” The use of the words “or,” “either” or “any”
shall not be exclusive. The parties hereto have participated jointly in the negotiation and drafting
of this Agreement. If an ambiguity or question of intent or interpretation arises, this Agreement
shall be construed as if drafted jointly by the parties hereto, and no presumption or burden of
proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
provisions of this Agreement. All references to laws, rules, regulations and forms in this
Agreement shall be deemed to be references to such laws, rules, regulations and forms, as
amended from time to time or, to the extent replaced, the comparable successor thereto in effect
at the time. All references to agencies, self-regulatory organizations or governmental entities in
this Agreement shall be deemed to be references to the comparable successors thereto from time
to time.

               (j)    Delivery by Facsimile and Electronic Means. This Agreement, the
agreements referred to herein, and each other agreement or instrument entered into in connection
herewith or therewith or contemplated hereby or thereby, and any amendments hereto or thereto,


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to the extent signed and delivered by means of a facsimile machine or other electronic means,
shall be treated in all manner and respects as an original agreement or instrument and shall be
considered to have the same binding legal effect as if it were the original signed version thereof
delivered in person. At the request of any party hereto or to any such agreement or instrument,
each other party hereto or thereto shall re-execute original forms thereof and deliver them to all
other parties. No party hereto or to any such agreement or instrument shall raise the use of a
facsimile machine or other electronic means to deliver a signature or the fact that any signature
or agreement or instrument was transmitted or communicated through the use of a facsimile
machine or other electronic means as a defense to the formation or enforceability of a contract
and each such party forever waives any such defense.

              (k)    Arm’s Length Agreement. Each of the parties to this Agreement agrees
and acknowledges that this Agreement has been negotiated in good faith, at arm’s length, and not
by any means prohibited by law.

                (l)     Sophisticated Parties; Advice of Counsel. Each of the parties to this
Agreement specifically acknowledges that (i) it is a knowledgeable, informed, sophisticated
Person capable of understanding and evaluating the provisions set forth in this Agreement and
(ii) it has been fully advised and represented by legal counsel of its own independent selection
and has relied wholly upon its independent judgment and the advice of such counsel in
negotiating and entering into this Agreement.

                (m)     Attorneys’ Fees. In the event of litigation or other proceedings in
connection with or related to this Agreement, the prevailing party in such litigation or proceeding
shall be entitled to reimbursement from the opposing party of all reasonable expenses, including
reasonable attorneys’ fees and expenses of investigation in connection with such litigation or
proceeding.

               (n)   FWP Consent. No Holder shall use a Holder Free Writing Prospectus
without the prior written consent of the Company, which consent shall not be unreasonably
withheld or delayed.

              (o)      Notification of Status. Each Holder shall provide written notice to the
Company within ten Business Days from the first day on which the Holder no longer holds
Registrable Securities.

               (p)      Governing Law. This Agreement and the exhibits and schedules hereto
shall be governed by, and construed in accordance with, the laws of the State of New York,
without giving effect to any choice of law or conflict of law rules or provisions (whether of the
State of New York or any other jurisdiction) to the extent such rules or provisions would cause
the application of the laws of any jurisdiction other than the State of New York.

               (q)    Submission to Jurisdiction. Any action, suit or proceeding seeking to
enforce any provision of, or based on any matter arising out of or in connection with, this
Agreement or the transactions contemplated hereby must be brought in the United States District
Court for the in the Southern District of New York or any New York state court, in each case,
located in the Borough of Manhattan, and each party consents to the exclusive jurisdiction and



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venue of such courts (and of the appropriate appellate courts therefrom) in any such action, suit
or proceeding and irrevocably waives, to the fullest extent permitted by law, any objection that it
may now or hereafter have to the laying of the venue of any such, action, suit or proceeding in
any such court or that any such action, suit or proceeding brought in any such court has been
brought in an inconvenient forum.

                 (r)    Waiver of Jury Trial. Each of the parties to this Agreement hereby agrees
to waive its respective rights to a jury trial of any claim or cause of action based upon or arising
out of this Agreement. The scope of this waiver is intended to be all-encompassing of any and
all disputes that may be filed in any court and that relate to the subject matter of this Agreement,
including contract claims, tort claims and all other common law and statutory claims. Each party
hereto acknowledges that this waiver is a material inducement to enter into this Agreement, that
each has already relied on this waiver in entering into this Agreement, and that each will
continue to rely on this waiver in their related future dealings. Each party hereto further warrants
and represents that it has reviewed this waiver with its legal counsel and that it knowingly and
voluntarily waives its jury trial rights following consultation with legal counsel. THIS WAIVER
IS IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED EITHER ORALLY OR
IN WRITING (OTHER THAN BY A MUTUAL WRITTEN WAIVER SPECIFICALLY
REFERRING TO THIS SECTION 22(r) AND EXECUTED BY EACH OF THE PARTIES
HERETO), AND THIS WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS,
RENEWALS, SUPPLEMENTS OR MODIFICATIONS TO THIS AGREEMENT. In the event
of litigation, this Agreement may be filed as a written consent to a trial by the court.

              (s)     Complete Agreement. This Agreement and any certificates, documents,
instruments and writings that are delivered pursuant hereto, represent the complete agreement
between the parties hereto as to all matters covered hereby, and supersedes any prior agreements
or understandings among the parties.

                (t)     Severability. In the event any one or more of the provisions contained in
this Agreement should be held invalid, illegal or unenforceable in any respect, the validity,
legality and enforceability of the remaining provisions contained herein shall not in any way be
affected or impaired thereby (it being understood that the invalidity of a particular provision in a
particular jurisdiction shall not in and of itself affect the validity of such provision in any other
jurisdiction). The parties shall endeavor in good-faith negotiations to replace the invalid, illegal
or unenforceable provisions with valid provisions the economic or other effect of which comes
as close as possible to that of the invalid, illegal or unenforceable provisions.

              (u)     Termination. Subject to Section 20, the obligations of any Holder and of
the Company with respect to such Holder pursuant to Sections 1-16, other than those obligations
contained in Section 13, shall terminate as soon as such Holder no longer holds any Registrable
Securities.

                                  *       *      *       *       *




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      IN WITNESS WHEREOF, the parties hereto have executed this Investor Rights
Agreement as of the date first written above.



                                          HMH HOLDINGS (DELAWARE), INC.



                                          By:
                                                Name:
                                                Title:




                         Signature Page for Investor Rights Agreement
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       IN WITNESS WHEREOF, the undersigned has executed this signature page to the
Investor Right’s Agreement, dated as of June 22, 2012, by and among HMH Holdings
(Delaware), Inc. and the other parties thereto.



INVESTORS:                                         INDIVIDUAL STOCKHOLDER:


                                                   (Print Name)



                                                   (Signature)


                                                   PARTNERSHIP, CORPORATION,
                                                   LIMITED LIABILITY COMPANY,
                                                   TRUST, CUSTODIAL ACCOUNT,
                                                   OTHER STOCKHOLDER:



                                                   (Print Name of Entity)


                                                   By:___________________________
                                                      (Signature)


                                                   ______________________________
                                                   (Print Name and Title)




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                                             Schedule I

                                 Hedging Transaction Language

A selling stockholder may also enter into hedging and/or monetization transactions. For
example, a selling stockholder may:

        (a)     enter into transactions with a broker-dealer or affiliate of a broker-dealer or other
third party in connection with which that other party will become a selling stockholder and
engage in short sales of the common stock under this prospectus, in which case the other party
may use shares of common stock received from the selling stockholder to close out any short
positions;

       (b)      itself sell short common stock under this prospectus and use shares of common
stock held by it to close out any short position;

       (c)     enter into options, forwards or other transactions that require the selling
stockholder to deliver, in a transaction exempt from registration under the Securities Act,
common stock to a broker-dealer or an affiliate of a broker-dealer or other third party who may
then become a selling stockholder and publicly resell or otherwise transfer that common stock
under this prospectus; or

        (d)     loan or pledge common stock to a broker-dealer or affiliate of a broker-dealer or
other third party who may then become a selling stockholder and sell the loaned shares or, in an
event of default in the case of a pledge, become a selling stockholder and sell the pledged shares,
under this prospectus.
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                                 Exhibit G
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        IN WITNESS WHEREOF, the undersigned have executed this signature page to the
Investor Right’s Agreement, dated as of _____, 2012, by and among HMH Holdings (Delaware),
Inc. and the other parties thereto.



INVESTORS:                                       INDIVIDUAL STOCKHOLDER:


                                                 (Print Name)



                                                 (Signature)


                                                 PARTNERSHIP, CORPORATION,
                                                 LIMITED LIABILITY COMPANY,
                                                 TRUST, CUSTODIAL ACCOUNT, OTHER
                                                 STOCKHOLDER:



                                                 (Print Name of Entity)


                                                 By:___________________________
                                                    (Signature)


                                                 ______________________________
                                                 (Print Name and Title)




                        Signature Page to Investor Rights Agreement
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                                 Exhibit H
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                                                                                                                     Exhibit H




   Name                                        NoticeName                           Address1                    Address2                      Address3                City           STATE   Zip              Country
   Abry Partners LLC                           ASF1 LOAN FUNDING LLC CITIBANK NA    VIRTUS GROUP LP             333 W 34TH ST                 2ND FL                  NEW YORK       NY      10001      USA
                                               LILLEHAMMER FUNDING ALADDIN                                      IFSC HOUSE CUSTOM HOUSE
   Aladdin Cap                                 CAPITAL                              ANUPAM NAGPAUL              QUAY                                                  DUBLIN                            IRELAND
                                               AMERICAN SECURITIES OPPORTUNITIES
                                                                                                                                                                                     NY
   AMERICAN SECURITIES                         FUND B LP                            BRIAN HEUSEL                THE CHRYSLER CTR              666 THIRD AVE 29TH FL   NEW YORK               10017      USA
                                               AMERICAN SECURITIES OPPORTUNITIES
   AMERICAN SECURITIES                         FUND B LP                            JULIA KIM                   THE CHRYSLER CTR              666 THIRD AVE 29TH FL   NEW YORK       NY      10017      USA
                                               AMERICAN SECURITIES OPPORTUNITIES
                                                                                                                                                                                     NY
   AMERICAN SECURITIES                         FUND LP                              BRIAN HEUSEL                666 THIRD AVE                 30TH FL                 NEW YORK               10017      USA
                                               ANCHORAGE CAPITAL MASTER
   Anchorage Cap Group LL                      OFFSHORE LTD                         ANCHORAGE CAPITAL           UBS HOUSE 227 ELGIN AVE                               GEORGE TOWN            KY         CAYMAN ISLANDS
                                               ANCHORAGE ILLIQUID OPPORTUNITIES     ANCHORAGE CAPITAL
   Anchorage Cap Group LL                      OFFSHORE MASTER III LP               GROUP                       WALKER HOUSE                  87 MARY ST              GEORGE TOWN            KY1-9002   CAYMAN ISLANDS
                                               ANCHORAGE ILLIQUID OPPORTUNITIES
   Anchorage Cap Group LL                      OFFSHORE MASTER II LP                RYAN WHITTINGTON            WALKER HOUSE                  87 MARY ST              GEORGE TOWN            KY1-9002   CAYMAN ISLANDS
                                               GRF MASTER FUND II L P ANCHORAGE     ANCHORAGE CAPITAL
   Anchorage Cap Group LL                      CAPITAL GROUP L L C                  GROUP                       WALKER HOUSE 87 MARY ST                               GEORGE TOWN            KY1-9002   CAYMAN ISLANDS
                                               ANCHORAGE ILLIQUID OPPORTUNITIES
                                               OFFSHORE MASTERLP ANCHORAGE
   Anchorage Cap Group LL                      CAPITAL GROUPLLC                     SARAH SMYTHE                610 BROADWAY 6TH FL                                   NEW YORK       NY      10012      USA
                                               PCI FUND LLC C O ANCHORAGE           ANCHORAGE ADVISORS
                                                                                                                                                                                     NY
   Anchorage Capital Group LLC                 ADVISORS ANCHORAGE CAPITAL           WSO FAX                     610 BROADWAY 6TH FL                                   NEW YORK               10012      USA
                                               PCI FUND LLC C O ANCHORAGE
   Anchorage Capital Group LLC                 ADVISORS ANCHORAGE CAPITAL           MICHAEL POLENBERG           610 BROADWAY 6TH FL                                   NEW YORK       NY      10012      USA
                                               LEVERAGESOURCE IV LLC APOLLO                                     WALKERS SPV WALKER
   APOLLO CREDIT MGMT LLC                      CREDIT MANAGEMENT                    DEREK LAINO                 HOUSE                         87 MARY ST              GEORGE TOWN            KY1-9001   CAYMAN ISLANDS
   Avenue                                      AVENUE INVESTMENTS LP                KARISSA NGAN                535 MADISON AVE 15TH FL                               NEW YORK       NY      10022      USA
                                                                                                                IFSC HOUSE CUSTOM HOUSE
   BANK                                        MAGNOLIA FUNDING SCOTIA BANK         SAAD ATHAR                  QUAY                                                  DUBLIN                            IRELAND
                                               BALLANTYNE FUNDING LLC BANK OF
                                                                                                                                                                                     NC
   Bank Of America                             AMERICA                              BALLANTYNE FUNDING LLC      401N TYRON ST NC1 021 03 09                           CHARLOTTE              28255      USA
   BANK OF AMERICA NA                          BANK OF AMERICA N A                  SERVICING TEAM TLC004       1850 GATEWAY BLVD                                     CONCORD        CA      94520      USA
                                               BARCLAYS BANK PLC NEW YORK
                                                                                                                                                                                     NY
   BARCLAYS                                    BRANCH BARCLAYS                      ALOYSIUS LAI                75 WALL ST                    11TH FL                 NEW YORK               10265      USA
                                               BLACKROCK FIXED INCOME PORTABLE
   BlackRock                                   ALPHA MASTER SERIES TRUST            LOAN PRODUCTS               103 S CHURCH ST                                       GRAND CAYMAN           KY1-9002   CAYMAN ISLANDS
                                               BLACKROCK CORP HIGH YIELD FUND III
   BlackRock                                   INC                                  LOAN PRODUCTS               800 SCUDDERS MILL RD                                  PLAINSBORO     NJ      08536      USA

   BlackRock                                   BLACKROCK CORP HIGH YIELD FUND INC   LOAN PRODUCTS               800 SCUDDERS MILL RD                                  PLAINSBORO     NJ      08536      USA
                                               BLACKROCK CORP HIGH YIELD FUND VI
   BlackRock                                   INC BLACKROCK                        LOAN PRODUCTS               800 SCUDDERS MILL RD                                  PLAINSBORO     NJ      08536      USA
                                               BLACKROCK CORP HIGH YIELD FUND V
   BlackRock                                   INC                                  LOAN PRODUCTS               800 SCUDDERS MILL RD                                  PLAINSBORO     NJ      08536      USA
   BlackRock                                   BLACKROCK HIGH INCOME SHARES         LOAN PRODUCTS               100 BELLEVUE PKWY                                     WILMINGTON     DE      19809      USA
   BlackRock                                   BLACKROCK HIGH YIELD TRUST           LOAN PRODUCTS               100 BELLEVUE PKWY                                     WILMINGTON     DE      19809      USA
                                               BLACKROCK FLOATING RATE INCOME
                                                                                                                                                                                     DE
   BlackRock Financial Management              STRATEGIES FUND II INC BLACKROCK     LOAN PRODUCTS               100 BELLEVUE PKWY                                     WILMINGTON             19809      USA
                                               BLACKROCK FLOATING RATE INCOME
                                                                                                                                                                                     DE
   BlackRock Financial Management              STRATEGIES FUND INC BLACKROCK        LOAN PRODUCTS               100 BELLEVUE PKWY                                     WILMINGTON             19809      USA
                                               BLACKROCK FUNDS II HIGH YIELD BOND
                                                                                                                                                                                     DE
   BlackRock Financial Management              PORTFOLIO                            LOAN PRODUCTS               100 BELLEVUE PKWY                                     WILMINGTON             19809      USA
                                               BLACKROCK SENIOR HIGH INCOME
                                               FUND INC BLACKROCK FINANCIAL                                                                                                          NJ
   BlackRock Financial Management              MANAGEMENT                           LOAN PRODUCTS               800 SCUDDERS MILL RD                                  PLAINSBORO             08536      USA
                                               MET INVESTORS SERIES TRUST BLACK
   BlackRock Financial Management              ROCK HIGH YIELD PORTFOLIO            LOAN PRODUCTS               5 PARK PLZ STE 1900                                   IRVINE         CA      92614      USA
                                               BLACKROCK CREDIT INVESTORS
   BlackRock Financial Mgt                     MASTER FUND LP                       LOAN PRODUCTS               WALKER HOUSE                  87 MARY ST              GEORGE TOWN            KY         CAYMAN ISLANDS
                                               BLACKROCK SENIOR FLOATING RATE
   BlackRock Financial Mgt                     PORTFOLIO                            LOAN PRODUCTS               UGLAND HOUSE S CHURCH ST                              GEORGE TOWN            KY         CAYMAN ISLANDS
                                               BLACKROCK GLOBAL INVESTMENT
                                               SERIES INCOME STRATEGIES
   BlackRock Financial Mgt                     PORTFOLIO                            LOAN PRODUCTS               49 AVE J F KENNEDY                                    LUXEMBOURG             L-1855     LUXEMBOURG
   BlackRock Financial Mgt                     BCI 1 LOAN FUNDING LLC               VIRTUS GROUP LP             333 W 34TH ST 2ND FL                                  NEW YORK       NY      10001      USA
                                               BLACKROCK DEBT STRATEGIES FUND
                                                                                                                                                                                     NJ
   BlackRock Financial Mgt                     INC                                  LOAN PRODUCT                800 SCUDDERS MILL RD                                  PLAINSBORO             08536      USA
                                               BLACKROCK DEFINED OPPORTUNITY
   BlackRock Financial Mgt                     CREDIT TRUST                         LOAN PRODUCTS               100 BELLEVUE PKWY                                     WILMINGTON     DE      19809      USA




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                                               BLACKROCK DIVERSIFIED INCOME
                                               STRAGE FUND INC FKA DIVERSIFIED
   BlackRock Financial Mgt                     INCOME STRAT                           LOAN PRODUCTS             2 PENNS WAY                                                                         USA
                                               BLACKROCK FLOATING RATE INCOME
                                                                                                                                                                                 DE
   BlackRock Financial Mgt                     TRUST                                  LOAN PRODUCTS             100 BELLEVUE PKWY                                  WILMINGTON            19809      USA
                                               BLACKROCK FUNDS II BLACKROCK
                                               FLOATING RATE INCOME PORTFOLIO                                                                                                    DE
   BlackRock Financial Mgt                     BLACKROCK FINANCIAL MANAGEMENT         LOAN PRODUCTS             100 BELLEVUE PKWY                                  WILMINGTON            19809      USA
                                               BLACKROCK LIMITED DURATION INCOME
                                                                                                                                                                                 NY
   BlackRock Financial Mgt                     T                                      LOAN PRODUCTS             40 E 52ND ST                                       NEW YORK              10022      USA
   BLACKROCK INC                               OBSIDIAN MASTER FUND                   LOAN PRODUCTS             40 E 52ND ST               17TH FL                 NEW YORK      NY      10022      USA
                                               CANYON CAPITAL CLO 2004 1 LTD                                    MAPLES FINANCE LTD
   Canyon                                      CANYON CAPITAL                         CLO ADMINISTRATION        QUEENSGATE                 HOUSE S CHURCH ST       GEORGE TOWN           KY         CAYMAN ISLANDS
                                               CANYON CAPITAL CLO 2006 1 LTD
   Canyon                                      CANYON CAPITAL                         CLO ADMINISTRATION        QUEENSGATE HOUSE           S CHURCH ST             GEORGE TOWN           KY         CAYMAN ISLANDS
                                               THE CANYON VALUE REALIZATION
                                               MASTER FUND LP CANYON CAPITAL
   CANYON CAPITAL ADVISORS                     ADVISORS                               STEVE CHAN                89 NEXUS WAY CAMANA BAY                           GRAND CAYMAN           KY1-9007   CAYMAN ISLANDS
                                               CVI GVF CLO 1 LTD CARVAL INVESTORS                                                          12700 WHITEWATER DR MS
                                                                                                                                                                                 MN
   Carval                                      LLC                                    TERI SALBERG              CARVAL INVESTORS LLC       144                    MINNETONKA             55343      USA
                                                                                                                C O JOHN CAHILL CARVAL     LLC 12700 WHITEWATER
   CarVal Investors LLC                        CVI GVF LUX MASTER SARL CARVAL         TERI SALBERG              INVESTORS                  DR MS 144              MINNETONKA     MN      55343      USA

   Cheyne                                      CHEYNE CREDIT OPPORTUNITY CDO I BV     JONATHAN LONG             LOCATELLIKADE 1                                    AMSTERDAM             01076      NETHERLANDS
   CITI                                        CITIBANK NA DISTRESSED PRIMARY         JULIO C VELASCO           1615 BRETT RD                                      NEW CASTLE    DE      19720      USA
                                               COLUMBIA FUNDS SERIES TRUST II
                                               COLUMBIA FLOATING RATE FUND
                                                                                                                                                                                 MN
                                               COLUMBIA MANAGEMENT INVESTMENT                                   145 AMERIPRISE FINANCIAL
   COLUMBIA MGMT INVT ADVS                     ADVISORS LLC                           CYNTHIA SCOTT             CTR                                                MINNEAPOLIS           55474      USA
   CONTRARIAN CAPITAL                          CONTRARIAN FUNDS LLC                   LARRY HERZING             411 W PUTNAM AVE S 225                             GREENWICH     CT      06830      USA
                                               BLT 20 LLC CREDIT SUISSE CAPITAL
                                                                                                                                                                                 NY
   Credit Cap Investments LL                   INVESTMENTS                            JOSEPH PALAMARA           11 MADISON AVE                                     NEW YORK              10010      USA
                                               CREDIT SUISSE CAYMAN ISLANDS
   Credit Suisse Alternative                   BRANC CREDIT SUISSE                    CECELIA HARRISON          ELEVEN MADISON AVE                                 NEW YORK      NY      10010      USA
                                               CREDIT SUISSE CAYMAN ISLANDS
                                                                                                                                                                                 NY
   Credit Suisse Alternative                   BRANC CREDIT SUISSE                    CECELIA HARRISON          ELEVEN MADISON AVE                                 NEW YORK              10010-3629 USA
   CREDIT SUISSE CAPITAL LLC                   BLT 27 LLC                             EDWARD MARKOWSKI          11 MADISON AVE             TAX DEPARTMENT 8TH FL   NEW YORK      NY      10010-3629 USA
                                                                                                                                           CORPORATE TAX
                                                                                                                                                                   NEW YORK
   Credit Suisse Internation                   BLT 40 LLC CREDIT SUISSE CAPITAL LLC   JIANA INES AHUMADA        11 MADISON AVE             DEPARTMENT 8TH FL                     NY      10010-3629 USA
                                               DEUTSCHE BANK AG CAYMAN ISLANDS
                                                                                                                                                                                 NY
   Deutsche Bank                               BR DEUTSCHE                            KEN BOPF                  31 W 52 ST                 7TH FL                  NEW YORK              10019      USA
                                               DEUTSCHE BANK AG NEW YORK
                                                                                                                                                                                 NY
   Deutsche Bank                               BRANCH DEUTSCHE BANK                   BILAL AMAN                31 W 52ND ST                                       NEW YORK              10019      USA
                                               AFR FIDELITY ADVISOR SERIES I
                                               FIDELITY ADVISOR FLOATING RATE HIGH                                                                                               MA
   Fidelity Investments                        INCOME FUND FIDELITY                   FIDELITY INVESTMENTS      82 DEVONSHIRE ST                                   BOSTON                02109      USA
                                               CITIGROUP FINANCIAL PRODUCTS INC
   FKA SALOMON BROTHERS HOLDING                FKA SALOMON BROTHERS HOLDING CO                                                                                                   NY
   CO INC                                      INC                                    BRIAN BROYLES             2 NEW YORK PLZ             125 BROAD ST            NEW YORK              10004      USA
                                               ALADDIN CREDIT INTERMEDIATE FUND
   FORT HILL INV ADVISORS LP                   LTD                                    CHRISTINA KWAN            135 S CHURCH ST                                    GEORGE TOWN           KY1-1104   CAYMAN ISLANDS
                                               ALADDIN INTERMEDIATE FUND IRELAND                                5TH FL 75 ST STEPHENS
   FORT HILL INV ADVISORS LP                   II LIMITED                             NORTHERN TRUST            GREEN                                              DUBLIN                           IRELAND

   FORT HILL INV PARTNERS LC                   ALADDIN CREDIT OFFSHORE FUND II LP     CHRISTINA KWAN            135 S CHURCH ST                                    GEORGE TOWN           KY1-1104   CAYMAN ISLANDS
   FORT HILL INV PARTNERS LC                   ALADDIN DIP OFFSHORE FUND LP           CHRISTINA KWAN            135 S CHURCH ST                                    GEORGE TOWN           KY1-1104   CAYMAN ISLANDS
   FORT HILL INV PARTNERS LC                   INTERMEDIATE FUND IRELAND LIMITED      CHRISTINA KWAN            BEAUX LN HOUSE             MERCER ST LOWER         DUBLIN                           IRELAND
   FORT HILL INV PARTNERS LC                   ALADDIN CREDIT PARTNERS I LP           CHRISTINA KWAN            6 LANDMARK SQUARE                                  STAMFORD      CT      06901      USA
                                                                                                                SIX LANDMARK SQUARE 6TH
                                                                                                                                                                                 CT
   FORT HILL INV PARTNERS LC                   MC CREDIT PARTNERS DIP SMA LP          CHRISTINA KWAN            FL                                                 STAMFORD              06901      USA
                                               GOLDMAN SACHS LENDING PARTNERS
                                                                                                                                                                                 NY
   Goldman Sachs Asset Mgt                     LLC                                    GOLDMAN SACHS             C O GOLDMAN SACHS AND CO 85 BROAD ST TAX DEPT      NEW YORK              10004      USA
                                                                                                                                                                                 NY
   Goldman Sachs Asset Mgt                     SPECIAL SITUATIONS INVESTING GROUP BARBARA FABBRI                85 BROAD ST                28TH FL                 NEW YORK              10004      USA
   Guggenheim Investment Management LLC        HOSPITAL FOR SICK CHILDREN
                                                                                                                                                                                 ON
   FM                                          FOUNDATION THE                     KAITLIN TRINH                 525 UNIVERSITY AVE         14TH FL                 TORONTO               M5G-2L3    CANADA
   Guggenheim Investment Management LLC
   FM                                          COPPER RIVER CLO LTD                   MATILDA KWAN              QUEENSGATE HOUSE           S CHURCH STREE          GEORGE TOWN           KY         CAYMAN ISLANDS
   Guggenheim Investment Management LLC
   FM                                          GREEN LANE CLO LTD GUGGENHEIM          ROBERT BEDELL             NO 2                       QUEEN ST                GEORGE TOWN           KY         CAYMAN ISLANDS



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   Guggenheim Investment Management LLC
   FM                                          KENNECOTT FUNDING LTD                JASON MARTINEZ             QUEENSGATE HOUSE             S CHURCH ST             GEORGE TOWN              KY         CAYMAN ISLANDS
   Guggenheim Investment Management LLC
   FM                                   SANDS POINT FUNDING LTD                     PATRICK MITCHELL           QUEENSGATE HOUSE             S CHURCH ST             GEORGE TOWN              KY         CAYMAN ISLANDS
   Guggenheim Investment Management LLC NORTH RIVER INSURANCE COMPANY
                                                                                                                                                                                     NJ
   FM                                   THE GUGGENHEIM PARTNERS                     KAITLIN TRINH              305 MADISON AVE                                      MORRISTOWN               07962      USA
                                        ODYSSEY REINSURANCE COMPANY FKA
                                        ODYSSEY AMERICA REINSURANCE
                                                                                                                                                                                     CT
   Guggenheim Investment Management LLC CORPORATION GUGGENHEIM
   FM                                   PARTNERS                                    KAITLIN TRINH              300 FIRST STAMFORD PL                                STAMFORD                 06902      USA
                                        PRINCIPAL FUNDS INC GLOBAL
                                        DIVERSIFIED INCOME FUND
                                                                                                                                                                                     IA
   Guggenheim Investment Management LLC GUGGENHEIM INVESTMENT
   FM                                   MANAGEMENT LLC                              KAITLIN TRINH              711 HIGH ST                                          DES MOINES               50392      USA
                                        GUGGENHEIM APSLEY FUND LP
                                        GUGGENHEIM INVESTMENTS
   GUGGENHEIM INVT MGMT LLC             MANAGEMENT                                  THUY HONG                  UGLAND HOUSE                                         GEORGE TOWN              KY1-1104   CAYMAN ISLANDS
                                        HIGH YIELD LOAN PLUS MASTER
                                        SEGREGATED PORTFOLIO FKA MASTER
                                        SEGREGATED PORTFOLIO A2                                                PO BOX 1093GT BOUNDARY
   GUGGENHEIM INVT MGMT LLC             GUGGENHEIM                                  YEN TRAN                   HALL                         CRICKET SQUARE          GEORGE TOWN              KY         CAYMAN ISLANDS
                                        NZCG FUNDING LTD GUGGENHEIM
   GUGGENHEIM INVT MGMT LLC             INVESTMENT MANAGEMENT LLC                   SABRINA HOLUB              POBOX 1093                                           GRAND CAYMAN             KY1-1102   CAYMAN ISLANDS
                                        BDIFS LLC GUGGENHEIM INVESTMENT
                                                                                                                                                                                     CA
   GUGGENHEIM INVT MGMT LLC             MANAGEMENT LLC                              THUY HONG                  1250 FOURTH ST 5TH FL                                SANTA MONICA             90401      USA
                                        T BANK III TO I HIGH YIELD FUND PT
                                        GUGGENHEIM INVESTMENT                                                                                                                        TX
   GUGGENHEIM INVT MGMT LLC             MANAGEMENT LLC                              KAITLIN TRINH              16000 DALLAS PKWY STE 125                            DALLAS                   75248      USA
                                        T BANK III TO I HIGH YIELD FUND QP
                                        GUGGENHEIM INVESTMENT                                                                                                                        TX
   GUGGENHEIM INVT MGMT LLC             MANAGEMENT LLC                              KAITLIN TRINH              16000 DALLAS PKWY STE 125                            DALLAS                   75248      USA
                                        THE HOSPITAL FOR SICK CHILDREN
                                                                                                                                                                                     ON
   Guggenheim Partners                  EMPLOYEE PENSION PLAN TRUST                 KAITLIN TRINH              555 UNIVERSITY AVE                                   TORONTO                  M5G-1X8    CANADA
   Guggenheim Partners                  PAIDEIA LLC GUGGENHEIM PARTNERS             THUY HONG                  135 E 57TH ST FL 6                                   NEW YORK         NY      10022      USA
                                        TICKNOR CORNER LLC GUGGENHEIM
                                                                                                                                                                                     NY
   Guggenheim Partners                  PARTNERS                                    KAITLIN TRINH              135 E 57TH ST 6TH FL                                 NEW YORK                 10022      USA
                                        JEFFERIES LEVERAGED CREDIT
                                        PRODUCTS LLC DBA JEFFERIES HIGH             BANK DEBT SERVICING                                                                              CT
   Jefferies and Comp Inc               YIELD HOLDINGS LLC                          GROUP                      ONE STANTON PL               THREE N                 STAMFORD                 06902      USA
                                                                                                                                                                                     NY
   JPM Chase                                   JPMORGAN CHASE BANK NA JPM CHASE RYAN HANKS                     270 PARK AVE                                         NEW YORK                 10017      USA

                                               KING STREET ACQUISITION COMPANY LL                                                                                   NEW YORK         NY
   King Street Acquisition Company LLC         KING STREET CAPITAL MANAGEMENTLP     BANK DEBT                  909 THIRD AVE 30TH FL                                                         10022      USA
                                               LMA SPC FOR AND ON BEHALF OF THE
                                               MAP 84 SEGREGATED PORTFOLIO                                                                                          PALM BEACH       FL
   Knighthead Capital                          KNIGHT HEAD CAPITAL MGMTLLC          MICHAEL FRIEDBERG          3801 PGA BLVD STE 500                                GARDENS                  33410      USA
                                               KNIGHTHEAD MASTER FUND LP
                                                                                                                                                                                     NY
   Knighthead Capital Management LLC           KNIGHTHEAD CAPITAL MANAGEMENT        MICHAEL FRIEDBERG          623 5TH AVE 29TH FL                                  NEW YORK                 10022      USA
                                               LEHMAN COMMERCIAL PAPER LAMCO                                   3 WORLD FINANCIAL CTR 11TH
                                                                                                                                                                                     NY
   Lehman                                      LLC                                  JOHN O SHEA                FL                                                   NEW YORK                 10285      USA
                                               WOODLANDS COMMERCIAL
                                               CORPORATION FKA WOODLANDS                                                                                                             UT
   Lehman                                      COMMERCIAL BANK                      MICHELLE ROSOLINSKY        4001 S 700 E STE 410                                 SALT LAKE CITY           84107      USA
                                               MARATHON CLO II LTD MARATHON
   Marathon Asset Management                   ASSET MANAGEMENT                     NADEEM POONAWALA           WALKER HOUSE                 MARY ST                 GEORGE TOWN              KY         CAYMAN ISLANDS
                                               MARATHON SP OPP MASTER FUND LTD
                                                                                                                                                                                     NY
   Marathon Asset Management                   MARATHON ASSET MANAGEMENT            ERICA LIGHTFOOT            461 5TH AVE                                          NEW YORK                 10017      USA
                                               CORPORATE DEBT OPPORTUNITIES
                                               FUND LIMITED PARTNERSHIP MARATHON
   Marathon Asset Mgt                          ASSET MANAGEMENT LP                  ERICA LIGHTFOOT            PO BOX 31106                                         GRAND CAYMAN             KY-1205    CAYMAN ISLANDS

                                               MARATHON LIQUID CREDIT LONG SHORT                               C O MARATHON ASSET           ONE BRYANT PARK 38 TH                    NY
   Marathon Asset Mgt                          FUND MARATHON ASSET MANAGEMENT ERICA LIGHTFOOT                  MANAGEMENT LP                FL                      NEW YORK                 10036      USA
                                               MORGAN STANLEY SENIOR FUNDING INC                               1585 BROADWAY C O TAX
                                                                                                                                                                                     NY
   Morgan Stanley Investment                   MORGAN STANLEY INVESTMENT         MORGAN STANLEY                DEPARTMENT                   1633 BROADWAY25 TH FL   NEW YORK                 10019      USA
                                               MSD CREDIT OPPORTUNITY MASTER
   MSD Cap LP                                  FUND L P                          JEFF KRAVETZ                  UGLAND HOUSE S CHURCH ST                             GEORGE TOWN              KY1-1104   CAYMAN ISLANDS




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                                               STATE STREET BANK AND TRUST
                                               COMPANY AS TRUSTEE FOR THE
                                               GENERAL MOTORS HOURLY RATE
                                                                                                                                                                                        MA
                                               EMPLOYES PENSION TRUST
                                               NEUBERGER BERMAN FIXED INCOME
   NEUBERGER BER FXED INCOM                    LLC                                   STACEY WHITE               PO BOX 1992                                       BOSTON                              02105      USA
                                               FUTURE FUND BOARD OF GUARDIANS
   OAK HILL ADVISORS LP                        OAK HILL                              SHILPA WANI                LEVEL 44                   120 COLLINS ST         MELBOURNE                           03000      AUSTRALIA
                                               SIRIUS INVESTMENT FUND SICAV SIF
   OAK HILL ADVISORS LP                        OAK HILL ADVISORS LP                  JAMES DYBLE                31 Z A BOURMICHT                                  BERTRANGE                           LU-L -8070 LUXEMBOURG
                                               OAK HILL CREDIT OPPORTUNITY FINANCI
   OAK HILL ADVISORS LP                        OAK HILL ADVISORS LP                  ANNEMARIE COSTANTINI       2 PENNS WAY                                                                                      USA
                                               OAK HILL CREDIT PARTNERS IV LTD OAK
   Oak Hill Credit Partners                    HILL                                  GREG LUEB                  QUEENSGATE HOUSE           S CHURCH ST            GEORGE TOWN                         KY         CAYMAN ISLANDS

   Oak Hill Credit Partners                    OHA ASIA CUSTOMIZED CREDIT FUND LP ANNEMARIE COSTANTINI          WALKER HOUSE 87 MARY ST                           GEORGE TOWN                         KY1-9005   CAYMAN ISLANDS
                                                                                                                WALKER SPV LIMITEDWALKER
   Oak Hill Credit Partners                    OHA FINLANDIA CREDIT FUND OAK HILL    ANNMARIE COSTANTINI        HOUSE                    908GT 8 MARY ST          GEORGE TOWN                         KY         CAYMAN ISLANDS
   Oak Hill Credit Partners                    OHA HEDGED CREDIT MASTER LP           ANNMARIE COSTANTINI        WALKER HOUSE             87 MARY ST               GEORGE TOWN                         KY1-9005   CAYMAN ISLANDS
                                               OHA STRATEGIC CREDIT MASTER FUND
   Oak Hill Credit Partners                    II L P                                ANNMARIE COSTANTINI        WALKER HOUSE 87 MARY ST                           GEORGE TOWN                         KY1-9005   CAYMAN ISLANDS
                                               OHA STRATEGIC CREDIT MASTER FUND
   Oak Hill Credit Partners                    LP                                    ANNMARIE COSTANTINI        WALKER HOUSE 87 MARY ST                           GEORGE TOWN                         KY1-9005   CAYMAN ISLANDS
                                               STICHTING MN SERVICES US HIGH YIELD                              BURGEMEESTER ELSENLAAN
   Oak Hill Credit Partners                    FONDS OAK HILL                        SHILPA WANI                329                                               2282 MZ RIJSWIJK ZH                            NETHERLANDS
                                               STICHTING PENSIOENFONDS METAAL EN                                                           BURGEMEESTER
                                                                                                                                                                                                      2282 MZ
   Oak Hill Credit Partners                    TECHNIEK OAK HILL ADVISORS            ANNEMARIE CONSTANTINI      MN SERVICES NV             ELSENLAAN 329          RIJSWIJK ZH                                    NETHERLANDS
                                               STICHTING PENSIOENFONDS VAN DE
                                               METALEKTRO PME OAK HILL FKA
                                               STICHTING                                                                                                                                              2282 MZ
                                               BEDRIJFSTAKPENSIOENFONDS VOOR                                    MN SERVICES                BURGEMEESTER
   Oak Hill Credit Partners                    DE METALEKTRO                         ANNEMARIE COSTANTINI       VERMOGENSBEHEER BV         ELSENLAAN 329          RIJSWIJK ZH                                    NETHERLANDS
                                               GMAM GROUP PENSION TRUST I OAK
                                                                                                                                                                                        MA
   Oak Hill Credit Partners                    HILL                                  ANNMARIE COSTANTINI        PO BOX 1992                                       BOSTON                              02105      USA
                                               LERNER ENTERPRISESLP OAK HILL
                                                                                                                                                                                        MD
   Oak Hill Credit Partners                    CREDIT PARTNERS                       ANNEMARIE COSTANTINI       11501 HUFF CT                                     KENSINGTON                          20895      USA
   Oak Hill Credit Partners                    OHSF FINANCING LTD OAK HILL           ANNEMARIE COSTANTINI       65 E 55TH ST                                      NEW YORK              NY            10022      USA
                                               OREGON PUBLIC EMPLOYEES
                                                                                                                                                                                        OR
   Oak Hill Credit Partners                    RETIREMENT FUND OAK HILL              ANNEMARIE CONSTANTINI      350 WINTER ST              NE STE 100             SALEM                               97301-3896 USA
                                               OAKTREE OPPORTUNITIES FUND VIII
                                               DELAWARELP OAKTREE CAPITAL                                                                                                               CA
   Oaktree Capital Management LP               MANAGEMENT LP                         WILLIAM SANTANGELO         333 S GRAND AVE 28TH FL                           LOS ANGELES                         90071      USA
                                               OAKTREE HUNTINGTON INVESTMENT
                                               FUND LP OAKTREE CAPITAL
   OAKTREE CAPITAL MANAGEMENTLP                MANAGEMENTLP                          WILLIAM SANTANGELO         87 MARY ST                                        GEORGE TOWN                         KY1-9005   CAYMAN ISLANDS
                                               OAKTREE OPPORTUNITIES FUND VIII
                                               PARALLEL 2 LP OAKTREE CAPITAL
   OAKTREE CAPITAL MGT LP                      MANAGEMENT LLC                        WILLIAM SANTANGELO         87 MARY ST                                        GEORGE TOWN                         KY1-9005   CAYMAN ISLANDS
                                               OCP INVESTMENT TRUST ONEX CREDIT
                                                                                                                                                                                        ON
   Onex Credit Partners                        PARTNERSLLC                           ANNA PION                  161 BAY ST 49 TH FL                               TORONTO                             M5J-2S1    CANADA
                                               ONEX DEBT OPPORTUNITY FUND LTD
                                               FKA GK DEBT OPPORTUNITY FUND LTD
   Onex Credit Partners LLC                    ONEX CREDIT PARTNERS LLC              RAJEESH CHINNASWAMY        CAYMAN CORPORATE CENTRE 27 HOSPITAL RD 5TH FL     GEORGE TOWN                         KY         CAYMAN ISLANDS
                                               PAULSON ADVANTAGE MASTER LTD
   Paulson and Co                              PAULSON AND CO                        PAULSON and CO INC         UGLAND HOUSE S CHURCH ST                          GEORGETOWN                          KY         CAYMAN ISLANDS
                                               PAULSON ADVANTAGE PLUS MASTER         INTERNATIONAL FUND
   Paulson and Co                              LTD PAULSON AND CO                    SERVICES                   UGLAND HOUSE               S CHURCH ST            GEORGETOWN                          KY         CAYMAN ISLANDS
                                               PAULSON ADVANTAGE SELECT MASTER
   Paulson and Co                              FUND LTD PAULSON AND CO               PAULSON and CO INC         UGLAND HOUSE               S CHURCH ST            GEORGETOWN                          KY         CAYMAN ISLANDS
                                               PAULSON CREDIT OPPORTUNITY
   Paulson and Co                              MASTER LTD PAULSON AND CO             IFS                        UGLAND HOUSE               S CHURCH ST            GEORGE TOWN                         KY         CAYMAN ISLANDS
                                               PP OPPORTUNITIES LTD PAULSON AND      INTERNATIONAL FUND
   PAULSON AND CO INC                          CO                                    SERVICES                   CRAIGMUIR CHAMBERS                                ROAD TOWN                                      USA
                                               Q5 R5 TRADING LTD Q GLOBAL CAPITAL
   Q Investments                               MANAGEMENTLP                          TRADING WALL               87 MARY ST GEORGE TOWN                            GRAND CAYMAN                       KY1-9002    CAYMAN ISLANDS
   Q Investments                               R2 INVESTMENTS LDC                    TRADING WALL               WALKER HOUSE 87 MARY ST                           GEORGE TOWN           GRAND CAYMAN KY1-9005    CAYMAN ISLANDS
                                                                                                                                           MARY STREETPO BOX
   Q Investments                               R2 TOP HAT LTD Q INVESTMENTS     TRADING WALL                    WALKERS SPV LTD            908GT                  GEORGE TOWN                         KY         CAYMAN ISLANDS
                                               THE ROYAL BANK OF SCOTLAND GROUP
   RBS Greenwich Capital                       PLC                              MATTHEW ROSENCRANS              42 ST ANDREWS SQUARE                              EDINBURGH                                      SCOTLAND



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                                                                                                               11 MADISON AVE CORP TAX
                                                                                                                                                                                   NY
   SELF MANAGED                                CREDIT SUISSE LOAN FUNDING LLC        JEANNETTE CRESPO          DEPT 8TH F                                         NEW YORK                 10010   USA
   SELF MANAGED                                ZENITH INSURANCE COMPANY              ELINA BARON               21255 CALIFA ST                                    WOODLAND HILLS   CA      91367   USA
                                                                                                                                                                                   CT
   Silver Point Capital                        SPCP GROUP LLC SILVER POINT CAPITAL   ARBAB KHALID              600 STEAMBOAT RD                                   GREENWICH                06830   USA
   SILVER ROCK FINANCIAL LLC                   CM NP LLC                             DAVID CHOW                1250 FOURTH ST                                     SANTA MONICA     CA      90401   USA
   SILVER ROCK FINANCIAL LLC                   WELLWATER LLC                         DAVID CHOW                1250 FOURTH ST                                     SANTA MONICA     CA      90401   USA
                                               SILVER ROCK FINANCIAL LLC SILVER
                                                                                                                                                                                   CA
   SILVER ROCK FININCIAL LLC                   ROCK FINANCIAL                        DAVID CHOW                1250 4TH ST                                        SANTA MONICA             90401   USA
                                               STONE CREEK PARTNERS LP STONE                                   6100 FAIRVIEW ROADSUITE
                                                                                                                                                                                   NC
   STONE CREEK PARTNERS LLC                    CREEK PARTNERS LLC                    JOHN SHORT                790                                                CHARLOTTE                28210   USA
                                               TPG CREDIT OPPORTUNITIES FUND LP
   TPG Credit Mgt LP                           TPG CREDIT MANAGEMENT                 KEVIN FRUECHTE            90 S SEVENTH ST             4600 WELLS FARGO CTR   MINNEAPOLIS      MN      55402   USA
                                               TPG CREDIT OPPORTUNITIES
                                               INVESTORS LP TPG CREDIT                                                                                                             MN
   TPG Credit Mgt LP                           OPPORTUNITIES INVESTORSLP             BRETT BARBOUR             4600 WELLS FARGO CTR 90 S   7TH ST                 MINNEAPLOIS              55402   USA
   TRILOGY CAPITAL LLC                         TRILOGY PORTFOLIO COMPANY LLC         CHRIS KIRKLIN             780 THIRD AVE                                      NEW YORK         NY      10017   USA
   UBS STAMFORD BRANCH TRS                     UBS AG STAMFORD BRANCH UBS            LIANFENG CHEN             677 WASHINGTON BLVD                                STAMFORD         CT      06901   USA




In re: Houghton Mifflin Harcourt Publishing Company, et al.
Case No. 12-12171                                                                                                  Page 5 of 5
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390 Greenwich Street
New York, NY 10013




                                           June 22, 2012

To the Lenders of:

First Lien Credit Agreement dated as of December 12, 2007 among Citibank, N.A. as
Administrative Agent and Collateral Agent, Houghton Mifflin Harcourt Publishers Inc.,
HMH Publishers LLC, Houghton Mifflin Harcourt Publishing Company, the Lenders party
thereto

RE:      NOTICE OF DISTRIBUTION PURSUANT TO PLAN OF REORGANIZATION
         TO THE LENDERS UNDER THE FIRST LIEN CREDIT FACILITY

        Citibank, N.A., acts as administrative agent and collateral agent (the “Agent”) under the
First Lien Credit Agreement dated as of December 12, 2007 among Houghton Mifflin Harcourt
Publishers Inc. (“HMHP”), HMH Publishers LLC (“Publishers”), Houghton Mifflin Harcourt
Publishing Company (“HMC”, and together with HMHP and Publishers, collectively, the
“Borrower”), the Lenders party thereto (the “Credit Agreement”). All capitalized terms used
herein and not otherwise defined have the meanings given to those terms in the Credit
Agreement.

      On June 21, 2012, the United States Bankruptcy Court for the Southern District of New
York confirmed the Debtors’ Prepackaged Joint Plan of Reorganization Under Chapter 11 of the
Bankruptcy Code, as modified (the “Plan”).

       The Company will have substantially consummated the reorganization contemplated by
the Plan on June 22, 2012 (the “Effective Date”).

        As of the close of trading on the Effective Date and subject to the procedures set forth in
this Notice, each lender under the Credit Agreement (each a “Lender”) shall be entitled to
receive under the Plan a distribution of (i) $9.714082 per $1,000 principal amount of Loans and
(ii) new common stock of HMH Holdings (Delaware), Inc., par value $0.01 per share (the
“Common Stock”), in exchange for the Loans.

      Under the Plan, each Lender will be entitled to receive $9.714082 per $1,000 principal
amount of Loans made by such Holder on the Effective Date, with any fractional cents rounded
down to the nearest whole cent, in cash (the “Cash”). No action needs to be taken by the
Lenders in order for such Lenders to receive the Cash.

        Under the Plan, each Lender will also be entitled to receive an aggregate number of
22.442192 shares of Common Stock per $1,000 principal amount of Loans made by such Holder
on the Effective Date, with any fractional interests rounded down to the nearest whole share.
Confirmation of registration of shares of Common Stock will be distributed to Lenders as the
appropriate information is provided to the Company as contemplated by the procedures set forth
below. Lenders must complete the registration process described below in order to receive their
distribution of Common Stock. If a Lender has not completed the distribution process within
180 days of the Effective Date, the Lender will forfeit all rights to the Common Stock.
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New York, NY 10013




       Regarding the Common Stock, each Lender must execute and deliver a signature
page (the “Signature Page”) to the Investor Rights Agreement of HMH Holdings
(Delaware), Inc. (the “Investor Rights Agreement”) in the form enclosed herewith.
Kurtzman Carson Consultants, LLC (“KCC”) is acting as information agent for the
distribution pursuant to the Plan.

PROCEDURES FOR RECEIVING THE COMMON STOCK

                    The shares of Common Stock are not DTC eligible and will not be
distributed through DTC.

                In order to receive the distribution of such Common Stock, the Lender should
         complete the attached registration instruction sheet and execute the signature page to the
         Investor Rights Agreement and return them to KCC, as directed.

                Lenders may contact KCC as information agent to obtain information about
         the registration process and the distribution of Cash and Common Stock under the
         Plan:

                  Kurtzman Carson Consultants, LLC as information agent
                  599 Lexington Avenue, 39th Floor
                  Attention: HMH Holdings Distribution
                  New York, NY 10022
                  (917) 281-4800

    THE LENDERS ARE ENCOURAGED TO READ THE PLAN FOR A
COMPLETE EXPLANATION OF THEIR RIGHTS UNDER THE PLAN.

QUESTIONS ABOUT THE ADMINISTRATION OF THE DISTRIBUTIONS

        Lenders with questions about this Notice in respect of the administration of the
distributions described herein should direct them, in writing, to the attention of:

                          Citibank, N.A.
                          388 Greenwich Street
                          New York, New York 10013

                          Attention: Michael Testani
                          (212) 723-3756
                          michael.e.testani@citi.com

                          Kelly Gunness
                          (212) 723-3764
                          Kamla.kelly.gunness@citi.com
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                                  Exhibit J
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                               HMH Holdings (Delaware), Inc.
                                Registration Instruction Sheet

Please return this to KCC along with the signature page to the Investor Rights Agreement. This
information will be used to establish the registered stockholder account in the name of the
Beneficial Holder.


Name

Contact Name

Address1

Address2

City

State/Province

Country

Zip/ Postal Code

Phone ________________________________________________________________________

Fax __________________________________________________________________________

Email ________________________________________________________________________

Tax Identification Number ________________________________________________________
Check if non-US (no TIN)

Principal amount of Term Loan held by Lender _______________________________________
as of the Record Date (6/21/2012)

Principal amount of Revolving Loan held by Lender ___________________________________
as of the Record Date (6/21/2012)
